               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


TIMIA CHAPLIN; SARAH FIELDS;    )
SAYELINE NUNEZ; THOMAS HAYWARD; )
KEVIN SPRUILL; ROTESHA MCNEIL; )
QIANA ROBERTSON; YOUSEF JALLAL; )
MESSIEJAH BRADLEY; DENNIS KEITH )
LASSITER; PAULINO CASTELLANOS; )
ROBERT LEWIS; and ALLEN SIFFORD,)
on behalf of themselves and all )
others similarly situated,      )
                                )
          Plaintiffs,           )
                                )
     v.                         )            1:23-cv-423
                                )
GARY L. MCFADDEN, officially,   )
as the Sheriff of Mecklenburg   )
County; JOHN DOE SURETY, as     )
Surety for the Sheriff of       )
Mecklenburg County; WILLIE      )
R. ROWE, officially, as the     )
Sheriff of Wake County; THE OHIO)
CASUALTY INSURANCE COMPANY, as )
Surety for the Sheriff of Wake )
County; and TYLER TECHNOLOGIES, )
INC.,                           )
                                )
          Defendants.           )


                   MEMORANDUM OPINION AND ORDER

OSTEEN, JR., District Judge

     Before this court is Defendant Willie R. Rowe’s Motion to

Dismiss Second Amended Complaint, (Doc. 88), Defendant Tyler

Technologies, Inc.’s Motion to Dismiss Plaintiffs’ Second

Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(6), (Doc.

90), and Defendant Gary L. McFadden’s Motion to Dismiss




  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 1 of 97
Plaintiffs’ Second Amended Complaint, (Doc. 95). For the reasons

stated herein, Defendant Rowe’s motion will be granted,

Defendant Tyler Technologies’ motion will be denied, and

Defendant McFadden’s motion will be denied.

I.     FACTUAL BACKGROUND

       On a motion to dismiss, a court must “accept as true all of

the factual allegations contained in the complaint and draw all

reasonable inferences in favor of the plaintiff.” Ray v. Roane,

948 F.3d 222, 226 (4th Cir. 2020) (citation omitted). The facts,

taken in the light most favorable to Plaintiff, are as follows.

       A.    Background

       This putative class action arises out of a series of

alleged problems in the implementation and maintenance of North

Carolina’s digital court filing system, (“eCourts”). In

September 2015, the Chief Justice of the North Carolina Supreme

Court asked the North Carolina Commission on the Administration

of Law and Justice (the “Commission”) to review North Carolina’s

court system and recommend improvements. (Second Am. Compl.

(“SAC”) (Doc. 77) ¶ 56–57). The Commission recommended that

North Carolina adopt an “Integrated Case Management System”

(“ICMS”), a “single-source, digital application[] used to manage

all aspects of court administration.” (Id. ¶ 58–59.)




                                    - 2 -



     Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 2 of 97
     In spring 2018, the North Carolina Administrative Office of

the Courts (“NCAOC”) reported that the North Carolina Judicial

Branch would partner with the National Center for State Courts

to draft a Request for Proposal (“RFP”) for an ICMS. (Id. ¶ 61.)

A finalized RFP was posted to the public in August 2018. (Id. ¶

64.) Vendor-submitted proposals in response to the RFP were due

by October 2018. (Id.) A vendor selection committee evaluated

those vendor proposals, and ultimately recommended Tyler

Technologies, Inc. to implement an ICMS in the North Carolina

court system, although “advised NCAOC to investigate certain

legal claims involving Tyler Technologies before making any

binding commitments.” (Id. ¶ 68–69.) According to Plaintiffs,

other counties in the country who had contracted with Tyler

Technologies for court administration software experienced

problems with the software. (See id. ¶ 97.)

     On June 7, 2019, NCAOC and Tyler Technologies entered into

a contract for a software application package, (“eCourts”). (Id.

¶ 70.) In this contract, Tyler Technologies agreed to

     a. develop eWarrants—an online          warrant     repository
     bespoke to North Carolina;

     b. implement an ICMS—known by the shorthand “Odyssey”—
     that would allow courts to electronically process and
     manage all case types;

     c. host its software in the cloud, thereby allowing NCAOC
     to retire its own mainframe; and


                                 - 3 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 3 of 97
     d. respond to incidents and timely resolve defects in
     its systems.

(Id. ¶ 71.) Further, Tyler Technologies warranted that “the

Tyler Software will perform without Defects during the term of

this Contract. If the Tyler Software does not perform as

warranted, Tyler will use all reasonable efforts, consistent

with industry standards, to cure the Defect.” (Pls.’ Ex. B,

Service Level Agreement1 (Doc. 77-2) at 18.)2

     In July 2022, the eWarrants software was implemented

statewide, after delays resulting from “problems with

eWarrants.” (SAC (Doc. 77) ¶ 74.) According to Plaintiffs,

“eWarrants was intended to maintain detailed information about

magistrate and other judicial orders, criminal summonses, orders

for arrest, release orders and appearance bonds.” (Id.) On

February 13, 2023, Odyssey, the electronic case management

software, was implemented in four “pilot counties” — Wake


     1 “It is well established that a court may ‘consider
documents . . . attached to the motion to dismiss, so long as
they are integral to the complaint and authentic.’” Six v.
Generations Fed. Credit Union, 891 F.3d 508, 512 (4th Cir. 2018)
(citation omitted). The contract between Tyler Technologies and
NCAOC is integral to the complaint because it discusses Tyler
Technologies’ role in the implementation and maintenance of the
eCourts software, which is at the heart of this dispute.
Further, the parties do not dispute its authenticity.
Accordingly, this court may consider this contract.
     2 All citations in this Memorandum Opinion and Order to
documents filed with the court refer to the page numbers located
at the bottom right-hand corner of the documents as they appear
on CM/ECF.
                                 - 4 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 4 of 97
County, Lee County, Harnett County, and Johnston County. (Id. ¶¶

75, 77.)3 After the adoption of Odyssey in a county, attorneys

are required to file pleadings and other documents through

Odyssey, without exception. (Id. ¶ 76.)

     In the weeks following Odyssey’s implementation in the

pilot counties, “NCAOC logged (and reported to Tyler

Technologies) more than 573 software application defects,” (id.

¶ 82), including what the NCAOC Director referred to as “several

high priority defects that must be resolved prior to further

expansion,” (Pls.’ Ex. C, Ryan Boyce Letter (Doc. 77-3) at 5).4

In June 2023, NCAOC staff met to discuss an “Urgent Warrants

Reset Correction,” (id. ¶ 85), related to release orders for 179

warrants being “inadvertently deleted,” (id. ¶ 86). According to

Plaintiffs, this issue meant that “individuals who had cleared



     3 Plaintiffs state in the SAC that “eCourts launched in the
pilot counties” on February 13, 2023. (SAC (Doc. 77) ¶ 77.)
However, Plaintiffs also state that “eWarrants was implemented
statewide in July 2022, prior to the adoption of Odyssey.” (Id.
¶ 74.) Plaintiffs have explained that “eCourts” is an umbrella
term for a software package that includes both eWarrants and
Odyssey. (Id. ¶ 71.) Because eWarrants was implemented statewide
in July 2022, this court construes the statement regarding the
implementation of eCourts on a later date to mean the remaining
program of the eCourts package, Odyssey, was implemented on this
date.
     4 This document is integral to the complaint. The letter,

written by the Director of NCAOC, acknowledges defects in the
eCourts software, which Plaintiffs allege caused their injuries.
Further, the parties do not dispute its authenticity.
Accordingly, this court may consider it. See supra n.1.
                                 - 5 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 5 of 97
warrants, or posted bond and been released from jail, were now

subject to re-arrest.” (Id. ¶ 87.)

     A fifth county, Mecklenburg County, launched Odyssey5 months

after the pilot counties on October 9, 2023. 6 (Id. ¶ 89.)

Plaintiffs allege that during this time, “a known ‘integration

issue’ between eWarrants and Odyssey” existed, which “caused

many criminal defendants to be ‘held in custody despite meeting

the conditions of release.’” (Id. ¶ 91.) According to

Plaintiffs, in the “first four days following the launch of



     5 Again, Plaintiffs allege that on this date, Mecklenburg
County launched “eCourts,” but as discussed supra n.3,
Plaintiffs have alleged that eWarrants was launched statewide in
July 2022, so this court construes the allegation to mean that
Odyssey was launched this day.
     6 Plaintiffs allege that “eCourts launched in Mecklenburg

County on October 9, 2023.” (SAC (Doc. 77) ¶ 89). But Plaintiffs
also attach an email, sent on October 17, 2023, from the
Mecklenburg County Chief Judge, in which she states: “We are
eight days from the launch of Odyssey in Mecklenburg County . .
. .” (Pls.’ Ex. D, Chief Judge Email (Doc. 77-4) at 2). This
email implies that the launch of Odyssey in Mecklenburg County
was October 25, 2023. It is not clear to this court whether
there was a preliminary launch of Odyssey in Mecklenburg County
on October 9 or whether the only launch was October 25. The date
is critical, because two of the three Mecklenburg County
Plaintiffs allege that they were injured the week of October 9
because of an issue involving Odyssey. (See SAC (Doc. 77) ¶¶
103–08; id. ¶¶ 111–16.) If Odyssey was not launched until
October 25, it could not have been the causal impetus for their
injuries. Despite this ambiguity, in “draw[ing] all reasonable
inferences in favor of the plaintiff,” Ray, 948 F.3d at 226,
this court construes, for purposes of this motion and subject to
clarification at later stages of this litigation, that Odyssey
was launched in Mecklenburg County on October 9, 2023, as
alleged by Plaintiffs.

                                 - 6 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 6 of 97
eCourts in Mecklenburg County, and due to these technological

defects, approximately 66 people were detained well beyond the

point their conditions of release were satisfied.” (Id. ¶ 92.)

The Mecklenburg County Chief Judge sent an email to many

recipients, including Mecklenburg County Sheriff, Defendant

McFadden, on October 17, 2023, acknowledging this “integration

issue between eWarrants and Odyssey” and suggesting manual

procedures for clerks and magistrates to correct discrepancies.

(See Pls.’ Ex. D, Chief Judge Email (Doc. 77-4) at 2–3.)7

     B.   Facts as to the Named Plaintiffs8

          1.    Mecklenburg County

     There are three named Plaintiffs who allege injury in

Mecklenburg County.

     Plaintiff Sarah Fields was arrested on October 7, 2023, and

held on bond at the Mecklenburg County Detention Center



     7 This document is integral to the complaint as it
acknowledges defects in the eCourts software. The parties do not
dispute its authenticity. Accordingly, this court may consider
it. See supra n.1.
     8 In Plaintiffs’ SAC, named Plaintiff Paulino Castellanos

brought claims against Defendant Tyler Technologies, Inc., (SAC
(Doc. 77) ¶ 238), Defendant Sheriff Estes and his surety, (id.
¶¶ 250, 301, 328), and Defendant Susie K. Thomas, the Lee County
Clerk of Superior Court, (id. ¶ 311). Plaintiff Castellanos has
dismissed his claims against Sheriff Estes, (Doc. 98), Tyler
Technologies, (Doc. 99), and Susie K. Thomas, (Doc. 100).
Because Plaintiff Castellanos has no active claims against any
parties to this suit, this court instructs that his case be
terminated by the Clerk.
                                 - 7 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 7 of 97
(“MCDC”). (SAC (Doc. 77) ¶¶ 101–02.) On October 9, 2023, a

Mecklenburg County district court judge ordered her released on

an unsecured bond and she was returned to a holding cell at the

MCDC for processing and release. (Id. ¶¶ 103–05.) She was not

released until the next day, October 10, 2023, at around 1:30

p.m., which was approximately 25.5 hours after the time she was

ordered released. (Id. ¶¶ 106–07.)9 Plaintiff Fields alleges that

she was overdetained because of “Defendants’ adoption and

implementation of eCourts, including an integration defect

between Odyssey and eWarrants.” (Id. ¶ 108.)

     Plaintiff Sayeline Nunez was arrested on October 9, 2023,

and held on bond at the MCDC. (Id. ¶¶ 109–10.) On October 10,

2023, a Mecklenburg County district court judge ordered her

released on an unsecured bond and she was returned to a holding

cell at the MCDC for processing and release. (Id. ¶ 111–13.) She

was not released until the next day, October 11, 2023, around

1:30 p.m., which was approximately 26.5 hours after the time she




     9 Plaintiffs allege that Plaintiff Fields was ordered
released on October 9, 2023, (SAC (Doc. 77) ¶ 103–04), and that
she “was not released until the next day, October 10, 2024,”
(id. ¶ 106). Because Plaintiffs clearly allege that Fields was
released the next day, this court understands the reference to
2024 to be a typographical error and construes the complaint to
allege that she was released on October 10, 2023.
                                 - 8 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 8 of 97
was ordered released. (Id. ¶ 114–15.)10 Plaintiff Nunez alleges

that she was overdetained because of “Defendants’ adoption and

implementation of eCourts, including an integration defect

between Odyssey and eWarrants.” (Id. ¶ 116.)

     Plaintiff Thomas Hayward was arrested on December 2, 2023,

and held without bond at the MCDC. (Id. ¶¶ 117–18.) On December

4, 2023, a district court judge ordered Hayward released if he

posted a $2,500 bond. (Id. ¶¶ 119–20.) Plaintiff Hayward posted

bond at about 1:00 p.m. that same day and was returned to a

holding cell at the MCDC for processing and release. (Id. ¶ 121–

22.) He was not released until the next day, December 5, 2023,

around 3:41 a.m., which was approximately 14.5 hours after he

posted bond. (Id. ¶¶ 123–24.)11 Plaintiff Hayward alleges that he

was overdetained because of “Defendants’ adoption and




     10Plaintiffs allege that Plaintiff Nunez was ordered
released on October 10, 2023, (SAC (Doc. 77) ¶ 111–12), and that
she “was not released until the next day, October 11, 2024,”
(id. ¶ 114.) Because Plaintiffs clearly allege that Nunez was
released the next day, this court understands the reference to
2024 to be a typographical error and construes the complaint to
allege that she was released on October 11, 2023.
     11Plaintiffs allege that Plaintiff Hayward posted bond on
December 4, 2023, (SAC (Doc. 77) ¶ 119–21), and that he “was not
released until the next day, December 5, 2024,” (id. ¶ 123).
Because Plaintiffs clearly allege that Hayward was released the
next day, this court understands the reference to 2024 to be a
typographical error and construes the complaint to allege that
he was released on December 5, 2023.

                                 - 9 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 9 of 97
implementation of eCourts, including an integration defect

between Odyssey and eWarrants.” (Id. ¶ 125.)

          2.    Wake County

     There are seven named Plaintiffs who allege injury in Wake

County.

     Plaintiff Kevin Spruill was arrested pursuant to a warrant

on February 11, 2023. (Id. ¶ 126.) On February 15, 2023, he

appeared before a Wake County judge and posted bond. (Id. ¶

127.) However, the warrant for his arrest remained “active” in

the eWarrants system. (Id. ¶ 128.) On the basis of that warrant,

on March 4, 2023, a Wake County police officer pulled Spruill

over and handcuffed him and held him in the officer’s car until

Spruill produced his release paperwork, at which time the

officer confirmed with the Wake County Sheriff’s Office that the

warrant was not valid, requested the system be updated to

reflect this, and released him. (Id. ¶¶ 129–33.)

     On Plaintiff Spruill’s next court date, March 8, 2023,

Spruill appeared for court and was again arrested on the same

warrant, this time by a Wake County Sheriff’s deputy. (Id. ¶

134.) As a result, Spruill was shackled and put in a holding

cell until he provided his release paperwork “to prove that his

warrant was cleared.” (Id. ¶ 136.) He was released after “his




                                 - 10 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 10 of 97
file was reviewed by the Wake County Sheriff’s Office and the

Wake County Clerk of Court and updated in eCourts.” (Id. ¶ 137.)

     Plaintiff Timia Chaplin was criminally charged in Wake

County on November 23, 2022, and failed to appear in court on

December 13, 2022. (Id. ¶¶ 139–40.) A warrant for failure to

appear was issued and Chaplin was arrested on that warrant on

March 4, 2023, and released on bond. (Id. ¶ 140–41.) Plaintiff

Chaplin appeared at her rescheduled court date on March 16,

2023, where the charges against her were dismissed and her case

was designated in Odyssey as “resolved.” (Id. ¶ 142.) But on

April 9, 2023, Plaintiff Chaplin was again arrested on the

failure to appear warrant. (Id. ¶ 143.) According to Plaintiffs,

Chaplin was rearrested because “Odyssey did not communicate

[the] resolution [of her case] to eWarrants, in contravention of

the software’s intended design.” (Id. ¶ 144.) Plaintiffs allege

that this warrant remained outstanding as late as April 17,

2023. (Id. ¶ 146.)

     In July 2021, Plaintiff Rotesha McNeil received a citation

in Wake County for driving with a suspended license. (Id. ¶

147.) On August 11, 2022, a Wake County arrest warrant was

issued for her due to an alleged “failure to appear.” (Id. ¶

148.) On September 12, 2022, Plaintiff McNeil pled guilty to

driving with a suspended license and the court struck the


                                 - 11 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 11 of 97
“failure to appear,” explaining it had been entered in error.

(Id. ¶¶ 149–50.) On May 29, 2023, however, Plaintiff McNeil was

arrested by a Johnston County Sheriff’s deputy on that failure

to appear warrant. (Id. ¶ 152.) After McNeil informed the deputy

that her charges were resolved, the deputy contacted the Wake

County Sheriff’s Office, but a Wake County Sheriff’s Office

employee reported the warrant was valid and Plaintiff McNeil was

then detained for five hours until her release on a $1,000 bond.

(Id. ¶ 153–55.) On May 30, 2023, McNeil met with an employee of

the Wake County Clerk of Court, who “explained that the failure

to appear warrant should have been recalled from the electronic

system.” (Id. ¶ 157.) Soon after that meeting, the Wake County

Clerk of Court, Blair Williams, “offered McNeil $300 to resolve

all claims against Clerk Williams, his employees, NCAOC, and the

State of North Carolina.” (Id. ¶ 159.)

     On February 11, 2023, Plaintiff Qiana Robertson was

arrested in Wake County on suspicion of driving while impaired

and assigned a first appearance date of March 3, 2023. (Id. ¶¶

160–61.) Her case was continued to June 26, 2023. (Id. ¶ 162.)

But her court date was again changed, without the knowledge of

Plaintiff Robertson or her attorney, to May 5, 2023. (Id. ¶¶

163, 165.) According to Plaintiffs, “no one in the Wake County

Clerk’s Office or the District Attorney’s Office has been able


                                 - 12 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 12 of 97
to explain how the date change occurred.” (Id. ¶ 164.) When

Robertson did not appear on May 5, 2023, an order for her arrest

was issued. (Id. ¶¶ 166–67.) She was arrested on that warrant on

June 11, 2023, and held at the Wake County Detention Center

until she paid a $2,000 bond to secure her release. (Id. ¶¶ 167–

68.)

       Plaintiff Yousef Jallal was issued a citation for

misdemeanor possession of marijuana on January 12, 2023. (Id. ¶

170.) His case was dismissed on June 6, 2023, but was

“designated” as “called and failed,” and as a result, an order

for his arrest was issued on July 3, 2023. (Id. ¶¶ 171–73.) He

was arrested on August 10, 2023, by a Wake County Sheriff’s

deputy and held at the Wake County Detention Center from 9:00

p.m. to 3:00 a.m. when he was released on a $1,000 bond. (Id. ¶

175.) Odyssey was updated on August 11, 2023, to indicate that

his case was dismissed and disposed, but the dismissal document

was not entered on Odyssey. (Id. ¶¶ 176–77.)

       Plaintiff Messiejah Bradley was arrested for misdemeanor

possession of marijuana in Wake County in August 2022. (Id. ¶

178.) His charges were dismissed on July 20, 2023, but his

dismissal paperwork “although signed by the District Attorney

and submitted to the Court” was not reflected in Odyssey and

Odyssey marked his case as “called and failed.” (Id. ¶¶ 179–82.)


                                 - 13 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 13 of 97
An arrest warrant for the failure to appear was issued and a

police officer executed it and arrested Bradley on September 27,

2023, and Bradley was held at the Wake County Detention Center

for five hours before he was released on a $1,000 bond. (Id. ¶

182–84.) Odyssey was updated to indicate his case’s July 20,

2023, dismissal on September 28, 2023. (Id. ¶ 185.)

     Plaintiff Dennis Keith Lassiter was arrested and charged in

Wake County on March 30, 2023, and paid a bond to secure his

release. (Id. ¶ 186.) After appearing in court on July 7, 2023,

Lassiter was told he would be notified of his next court date.

(Id. ¶¶ 187–88.) When he had not received notice of his next

court date by late September, he called the Wake County Clerk’s

Office to confirm the date had not yet been scheduled. (Id. ¶¶

188–89.) The Clerk’s Office informed him that Odyssey was

displaying a “called and failed” designation for July 7, 2023,

and as a result, a magistrate ordered his bond be forfeited.

(Id. ¶¶ 190–91.) A warrant was issued for this failure to

appear, and Plaintiff Lassiter was arrested on October 19, 2023,

by a Wake County Sheriff’s deputy and taken to the Wake County

Detention Center. (Id. ¶¶ 193–94.)

     Later that same day, Plaintiff Lassiter appeared before a

magistrate and explained that he had appeared in court on July

7, 2023. (Id. ¶ 195.) The magistrate did not release him and


                                 - 14 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 14 of 97
noted that in addition to the July 7 failure to appear, Odyssey

displayed another outstanding failure to appear warrant from

2001. (Id. ¶ 196–97.) According to Plaintiffs, this warrant “had

been resolved more than twenty years prior,” but had been

“revived” during the transition to eCourts. (Id. ¶¶ 197–98.)

Wake County served the 2001 warrant, with the magistrate noting

“Criminal process confirmed via Electronic Warrants and/or

Odyssey,” and Plaintiff Lassiter was held in jail for more than

36 hours until he could appear before a district court for a

bond hearing. (Id. ¶ 199–200.) On November 2, 2023, his 2001

failure to appear charge was dismissed. (Id. ¶ 201.)

          3.    Statewide Plaintiffs

     Plaintiff Robert Lewis, a live-in caretaker in Guilford

County, was the subject of a restraining order issued by his

elderly client in 2016 that was “quickly dissolved.” (Id. ¶¶

213–14.) However, the restraining order remained visible on

eWarrants, and Plaintiff Lewis was arrested for violating its

terms in the fall of 2022 and spent two days in jail before he

posted bond. (Id. ¶¶ 215–17.) To avoid another arrest, Plaintiff

Lewis “managed his client’s care remotely for several months.”

(Id. ¶ 218.) Lewis’s case was dismissed after the District

Attorney “conceded the error.” (Id. ¶ 219.)




                                 - 15 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 15 of 97
     In August 2009, an arrest warrant was issued for Plaintiff

Allen Sifford in Gaston County but was never served. (Id. ¶¶

220–21.) In September 2022, Plaintiff Sifford’s application for

a commercial driver’s license was denied by the North Carolina

Department of Motor Vehicles, based on the outstanding 2009

warrant. (Id. ¶ 222.) Sifford hired an attorney, and the case

was dismissed on October 25, 2022. (Id. ¶ 223–24.) On July 7,

2023, Plaintiff Sifford was pulled over in Belmont, North

Carolina, for having a dark license-plate cover and officers

informed him that “his old warrant remained ‘active’ in

eWarrants.” (Id. ¶ 225–26.) Plaintiff Sifford was arrested and

held for more than 48 hours in the Gaston County jail. (Id. ¶

227.)

     C.     Class Allegations

     Plaintiffs additionally allege the following three putative

classes pursuant to Federal Rules of Civil Procedure 23(a),

(b)(2), and (b)(3). (SAC (Doc. 77) ¶ 229.)

     Overdetention Class: All individuals in the State of
     North Carolina who, beginning on and including February
     13,   2023,    and   due   to   Defendants’    adoption,
     implementation   and   design  of  eCourts    (including
     eWarrants), were released from jail more than two (2)
     hours after the basis for their detention ended. The
     named representatives for this class are Sarah Fields,
     Sayeline    Nunez,   Thomas   Hayward,    and    Paulino
     Castellanos.12


     12   See supra n.8.
                                - 16 -



 Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 16 of 97
      Wrongful Arrest Class: All individuals in the State of
      North Carolina who, beginning on and including July 1,
      2022, were arrested or detained pursuant to warrants
      that would not have been issued but for Defendants’
      adoption,   implementation   and  design   of   eCourts
      (including eWarrants). The named representatives for
      this class are Kevin Spruill, Timia Chaplin, Rotesha
      McNeil, Qiana Robertson, Yousef Jallal, Messiejah
      Bradley, Dennis Keith Lassiter, and Allen Sifford.

      Injunctive Relief Class: All members of the Wrongful
      Arrest Class and the Overdetention Class. All Plaintiffs
      except Robert Lewis are named representatives for this
      class.

(Id.)

II.   PROCEDURAL HISTORY

      Plaintiffs filed this putative class action on May 23,

2023. (Doc. 1.) Plaintiffs filed their First Amended Complaint

on October 27, 2023. (Doc. 30.) Plaintiffs filed their Second

Amended Complaint, the operative complaint, on February 28,

2024, (SAC (Doc. 77)).

      On May 7, 2024, all named Plaintiffs filed a Stipulation of

Voluntary Dismissal as to Defendants Fowler, Thomas, Williams,

Boyce, and Chinn-Gary. (Doc. 100.) Also on May 7, 2024,

Plaintiff Castellanos, the only named Lee County Plaintiff,

filed a Notice of Voluntary Dismissal of claims as to Defendant

Estes, Sheriff of Lee County. (Doc. 98). Because no other named

Plaintiff brought any claim against Sheriff Estes, he was

administratively terminated from the case. (Docket Entry

03/06/2025.) Plaintiff Castellanos also, on May 7, 2024, filed a

                                 - 17 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 17 of 97
Notice of Voluntary Dismissal of its claim against Tyler

Technologies, (Doc. 99), however the other named Plaintiffs’

claims against Tyler Technologies remain.

     On April 9, 2024, Defendant Rowe filed a Motion to Dismiss

Second Amended Complaint, (Doc. 88), and a supporting

memorandum, (Def. Sheriff Rowe’s Mem. in Supp. of Mot. to

Dismiss Second Am. Compl. (“Def. Rowe’s Mem.”) (Doc. 89)).

Plaintiffs responded in opposition on May 7, 2024, (Pls.’ Resp.

in Opp’n to Sheriff Rowe’s Mot. to Dismiss (“Pls.’ Resp. to

Rowe’s Mot.”) (Doc. 102)). Defendant Rowe replied on June 6,

2024. (Def. Sheriff Rowe’s Reply to Pls.’ Resp. (“Def. Rowe’s

Reply”) (Doc. 110).)

     On April 9, 2024, Defendant Tyler Technologies, Inc. filed

a Motion to Dismiss Plaintiffs’ Second Amended Complaint

Pursuant to Fed. R. Civ. P. 12(b)(6), (Doc. 90), and a

supporting memorandum, (Mem. of Law in Supp. of Def. Tyler

Technologies, Inc.’s Mot. to Dismiss (“Def. Tyler Technologies’

Mem.”) (Doc. 91)). On May 7, 2024, Plaintiffs responded in

opposition, (Pls.’ Resp. in Opp’n to Tyler Technologies, Inc.’s

Mot. to Dismiss (“Pls.’ Resp. to Tyler Technologies’ Mot.”)

(Doc. 103)). Defendant Tyler Technologies replied on June 7,

2024. (Reply Br. in Supp. of Def. Tyler Technologies, Inc.’s

Mot. to Dismiss (“Def. Tyler Technologies’ Reply”) (Doc. 111).)


                                 - 18 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 18 of 97
     On April 9, 2024, Defendant McFadden filed a Motion to

Dismiss Plaintiffs’ Second Amended Complaint, (Doc. 95), and a

supporting memorandum, (Sheriff Garry McFadden’s Mem. of Law in

Supp. of His Mot. to Dismiss Pls.’ Second Am. Compl. (“Def.

McFadden’s Mem.”) (Doc. 96)). On May 7, 2024, Plaintiffs

responded in opposition, (Pls.’ Resp. in Opp’n to Sheriff

McFadden’s Mot. to Dismiss (“Pls.’ Resp. to McFadden’s Mot.”)

(Doc. 101)). Defendant McFadden replied on June 7, 2024.

(Sheriff Garry L. McFadden’s Reply to Pls.’ Opp’n to His Mot. to

Dismiss (“Def. McFadden’s Reply”) (Doc. 112).)

III. STANDARD OF REVIEW

     To survive a Rule 12(b)(6) motion, “a complaint must

contain sufficient factual matter, accepted as true, to ‘state a

claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). A claim is plausible on its

face if “the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is

liable” and demonstrates “more than a sheer possibility that a

defendant has acted unlawfully.” Id. (citing Twombly, 550 U.S.

at 556–57). When ruling on a motion to dismiss, this court

accepts the complaint’s factual allegations as true, id., and

draws all reasonable inferences in the plaintiff’s favor, Ray,


                                 - 19 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 19 of 97
948 F.3d at 226. However, this court does not accept legal

conclusions as true, and “[t]hreadbare recitals of the elements

of a cause of action, supported by mere conclusory statements,

do not suffice.” Iqbal, 556 U.S. at 678.

IV.   ANALYSIS

      All named Plaintiffs assert one claim of negligence13

against Defendant Tyler Technologies, (SAC (Doc. 77) ¶¶ 237–46).

Named Plaintiffs Fields, Nunez, and Hayward assert two claims

against Defendant McFadden in his official capacity: 1) a claim

of negligence, (id. ¶¶ 247–48, 251–57), and 2) a 42 U.S.C. §

1983 Monell claim, (id. ¶¶ 258–79). These claims are also

brought independently against Defendant McFadden’s official bond

surety, Defendant John Doe Surety, pursuant to N.C. Gen. Stat §




       This court “must follow the choice-of-law rules of the
      13

state in which it sits.” Smith v. Cessna Aircraft Co., Inc., 571
F. Supp. 433, 435 (M.D.N.C. 1983) (citing Klaxon v. Stentor
Elec. Mfg. Co., 313 U.S. 487 (1941)). In tort actions, North
Carolina courts employ the lex loci delicti test, applying the
substantive law of the state where the injury occurred. Harco
Nat’l Ins. Co. v. Grant Thornton LLP, 206 N.C. App. 687, 692,
698 S.E.2d 719, 722–23 (2010). All named Plaintiffs’ injuries
occurred in North Carolina; thus North Carolina law applies to
Plaintiffs’ negligence claims.
                                - 20 -



 Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 20 of 97
58-76-5. (Id. ¶¶ 297–99, 302, 304–07.)14 Plaintiffs Spruill,

Chaplin, McNeil, Robertson, Jallal, Bradley, and Lassiter assert

two claims against Defendant Rowe in his official capacity: 1) a

claim of negligence, (id. ¶¶ 247, 249, 251–57), and 2) a 42

U.S.C. § 1983 Monell claim, (id. ¶¶ 280–96). These claims are

also brought independently against Defendant Rowe’s official

bond surety, Defendant The Ohio Casualty Insurance Company,

pursuant to N.C. Gen. Stat § 58-76-5. (Id. ¶¶ 297–98, 300, 303–

307.)15

     Finally, all named Plaintiffs also bring a claim under 42

U.S.C. § 1983 for injunctive relief against Defendants Rowe and

McFadden, (id. ¶¶ 325, 328–336), requesting that both Rowe and

McFadden “adopt failsafe procedures that would prevent Fourth

and Fourteenth Amendment violations akin to those suffered by




     14 Under North Carolina law, sheriffs are required to
“furnish a bond payable to the State of North Carolina for the .
. . faithful execution of his office as sheriff.” N.C. Gen.
Stat. § 162-8. “Purchasing a sheriff’s bond as required by N.C.
Gen. Stat. § 162-8 waives the sheriff’s governmental immunity,
but only ‘to the extent of the coverage provided.’” Butterfield
v. Gray, 279 N.C. App. 549, 559, 866 S.E.2d 296, 304 (2021)
(citation omitted). “To recover on the sheriff's bond, ‘[e]very
person injured by the neglect, misconduct, or misbehavior in
office of any . . . sheriff . . . may institute a suit or suits
against said officer or any of them and their sureties upon
their respective bonds for the due performance of their duties
in office in the name of the State . . . .’” Id. at 560 (quoting
N.C. Gen. Stat. § 58-76-5 (2019)).
     15 See supra n.14.


                                 - 21 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 21 of 97
Plaintiffs and the Injunctive Relief Class as alleged herein.”

(Id. ¶ 335.)

     A.   Class Allegations against Tyler Technologies

     Defendant Tyler Technologies argues that “Plaintiffs’ class

allegations fail as a matter of law and should be dismissed on

the pleadings,” because “Plaintiffs cannot satisfy the Rule 23

requirements of commonality, typicality, and predominance as a

matter of law.” (Def. Tyler Technologies’ Mem. (Doc. 91) at 9.)16

     Federal Rule of Civil Procedure 23, which governs class

actions, states: “[a]t an early practicable time after a person

sues or is sued as a class representative, the court must

determine by order whether to certify the action as a class

action.” Fed. R. Civ. P. 23(c)(1)(A). “Several circuits have

determined that ‘Rule 23 permits defendants to file preemptive

motions to deny certification before discovery is completed,’”

Izzo v. Procter & Gamble Co., No. 2:23-CV-02125-BHH, 2024 WL

3970856, at *2 (D.S.C. Mar. 22, 2024) (citation omitted)

(collecting cases), including the Fourth Circuit in an



     16All named Plaintiffs bring a claim of negligence against
Tyler Technologies “on behalf of themselves individually as well
as any Class to which they belong.” (SAC (Doc. 77) ¶ 238.)
However, because Plaintiffs do not seek injunctive relief from
Defendant Tyler Technologies, this court understands Plaintiffs
to pursue negligence against Tyler Technologies on behalf of
only the Wrongful Arrest and Overdetention Classes, and not the
Injunctive Relief Class.
                                 - 22 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 22 of 97
unpublished decision, see Strange v. Norfolk & W. Ry. Co., No.

85-1929, 1987 WL 36160, at *3 (4th Cir. Jan 12, 1987) (affirming

district court’s denial of class certification prior to close of

discovery). District courts within this circuit hold similarly.

See Izzo, 2024 WL 3970856, at *3–*4; Cnty. of Dorchester, S.C.

v. AT & T Corp., 407 F. Supp. 3d 561, 565–66 (D.S.C. 2019);

Williams v. Potomac Fam. Dining Grp. Operating Co., LLC, No.

GJH-19-1780, 2019 WL 5309628, at *4–*5 (D. Md. Oct. 21, 2019);

Layani v. Ouazana, No. CV ELH-20-420, 2021 WL 805405, at *39 (D.

Md. Mar. 3, 2021).

     The courts that permit pre-discovery efforts to dismiss

class allegations “have coalesced around a broad understanding

of when granting such motions is proper, holding that class

allegations should generally be struck before the completion of

discovery only when it is apparent from the face of the

complaint that ‘the requirements for maintaining a class action

cannot be met.’” Williams, 2019 WL 5309628, at *5 (citation

omitted). “The guidelines for making this assessment are

provided by the familiar standard of review for motions to

dismiss under Rule 12(b)(6).” Id. Accordingly, a pre-discovery

motion to dismiss class allegations should only be granted where

“the pleading makes clear that the purported class cannot be

certified and no amount of discovery would change that


                                 - 23 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 23 of 97
determination.” Cnty. of Dorchester, 407 F. Supp. 3d at 565–66

(citation omitted). “Imposing this relatively low bar to proceed

to discovery is consistent with the principle that ‘a ruling on

class certification should normally be based on ‘more

information than the complaint itself affords.’” Williams, 2019

WL 5309628, at *5 (citation omitted); see also Int'l Woodworkers

of Am., AFL-CIO, CLC v. Chesapeake Bay Plywood Corp., 659 F.2d

1259, 1268 (4th Cir. 1981) (“It is seldom, if ever, possible to

resolve class representation questions from the pleadings . . .

.”); Manning v. Bos. Med. Ctr. Corp., 725 F.3d 34 (1st Cir.

2013) (“[A] court should typically await the development of a

factual record before determining whether the case should move

forward on a representative basis.”).

     This court has previously expressed that its “general

preference is to address the class action question after any

motion to dismiss is resolved.” (Doc. 36 at 2.) However, even

assuming Defendant’s pre-discovery motion to dismiss class

allegations is an appropriate mechanism and applying the Rule

12(b)(6) standard, it is not clear from the pleadings that “the

purported class cannot be certified and no amount of discovery

would change that determination.” Cnty. of Dorchester, 407 F.

Supp. 3d at 565–66.




                                 - 24 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 24 of 97
          1.    Rule 23 Requirements

     Plaintiffs’ putative class claim against Tyler Technologies

is put forth pursuant to Federal Rule of Civil Procedure

23(b)(3), (SAC (Doc. 77) ¶ 229), and therefore, at this stage,

Plaintiffs must have plausibly alleged the requirements of both

Rule 23(a) and Rule 23(b)(3). See Gunnells v. Healthplan Servs.,

Inc., 348 F.3d 417, 458 (4th Cir. 2003).

          Rule 23(a) requires that every class satisfy four
     basic prerequisites: numerosity of parties, common
     questions of law or fact, typicality of claims or
     defenses of the representative parties, and adequacy of
     representation.   Along   with   these   four   explicit
     requirements, we have also required every class to
     satisfy   Rule    23's   implicit     ‘ascertainability’
     requirement, which precludes certification unless a
     court can readily identify the class members in
     reference to objective criteria.

Mr. Dee's Inc. v. Inmar, Inc., 127 F.4th 925, 930 (4th Cir.

2025) (internal quotation marks and citations omitted). Rule

23(b)(3) further requires that “the questions of law or fact

common to class members predominate over any questions affecting

only individual members, and that a class action is superior to

other available methods for fairly and efficiently adjudicating

the controversy.” Fed. R. Civ. P. 23(b)(3).

     Defendant Tyler Technologies does not challenge

ascertainability nor numerosity but argues that “Plaintiffs

cannot meet the Rule 23(a) requirements of commonality or

typicality,” (Def. Tyler Technologies’ Mem. (Doc. 91) at 34),

                                 - 25 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 25 of 97
and that “Plaintiffs cannot meet the more stringent Rule

23(b)(3) requirements,” (id. at 38).

                i.    23(a): Typicality

     Tyler argues that “[Plaintiffs’] claims lack typicality

because each arrest or detention turns on a unique set of facts

involving distinct legal inquiries.” (Def. Tyler Technologies’

Mem. (Doc. 91) at 36.) Typicality requires “the claims of the

named class representatives be typical of those of the class; ‘a

class representative must be part of the class and possess the

same interest and suffer the same injury as the class members.’”

Lienhart v. Dryvit Sys., Inc., 255 F.3d 138, 146 (4th Cir. 2001)

(quoting Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 156

(1982)). And while typicality requires that the “plaintiff’s

claim cannot be so different from the claims of absent class

members that their claims will not be advanced by plaintiff’s

proof of his own individual claim,” typicality does not require

“that the plaintiff’s claim and the claims of class members be

perfectly identical or perfectly aligned.” Deiter v. Microsoft

Corp., 436 F.3d 461, 466–67 (4th Cir. 2006).

     All named Plaintiffs of the Wrongful Arrest Class allege

that they were arrested without legal authority because of Tyler

Technologies’ negligence in providing and maintaining allegedly

defective software. (SAC (Doc. 77) ¶ 243.) All named Plaintiffs


                                 - 26 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 26 of 97
of the Overdetention Class allege that their detention was

extended without legal authority because of Tyler Technologies’

negligence in providing and maintaining allegedly defective

software. (Id.) These claims are “typical” of the Wrongful

Arrest and Overdetention Classes, respectively, as they mirror

the allegations of the putative class members. (See id. ¶ 229.)

Further, both the named Plaintiffs and the putative class

members’ claims arise from the same “course of conduct,” that

is, Tyler Technologies’ provision and maintenance of eCourts.

Cf. Talley v. ARINC, 222 F.R.D. 260, 268 (D. Md. 2004)

(“Plaintiffs’ claims may differ factually and still be ‘typical’

of the claims of class members if the claims arise ‘from the

same event or practice or course of conduct that gives rise to

the claims of other class members, and if his or her claims are

based on the same legal theory.’”).

                ii.   23(a): Commonality and 23(b)(3):

                      Predominance

     The question of commonality is a two-fold inquiry when a

class is proposed under Rule 23(b)(3). First, Plaintiffs must

establish that there are “questions of law or fact common to the

class.” Fed. R. Civ. P. 23(a)(2). Second, those common questions

must “predominate over any questions affecting only individual

members,” such that “a class action is superior to other


                                 - 27 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 27 of 97
available methods for fairly and efficiently adjudicating the

controversy.” Fed. R. Civ. P. 23(b)(3). Accordingly, in

analyzing these putative 23(b)(3) classes, this court must

determine whether Plaintiffs have plausibly alleged that common

questions of law or fact exist and predominate over

individualized inquiries.

     With respect to the negligence claim against Tyler

Technologies, Plaintiffs allege that the following questions of

law and fact are common to the putative classes:

     k. Whether Defendant Tyler Technologies owed a duty of
     care to Plaintiffs and the proposed Classes;

     l. Whether Defendant Tyler Technologies breached the
     duty of care it owes to Plaintiffs and the proposed
     Classes; and

     m. Whether Defendant Tyler Technologies’ breach of its
     ordinary duty of care to Plaintiffs and the proposed
     classes has proximately caused damages.

(SAC (Doc. 77) ¶ 231.) Defendant Tyler Technologies does not

dispute that there are common questions as to duty and breach

but argues that “as to proximate cause and the separate required

element of injury (which Plaintiffs do not mention), Plaintiffs

ignore the significant individualized inquiries required. The

inquiries would overwhelm any basic common questions on duty.”

(Def. Tyler Technologies’ Mem. (Doc. 91) at 35.)

     Plaintiffs have plausibly alleged that there are questions

of law and fact common to the entire Wrongful Arrest and

                                 - 28 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 28 of 97
Overdetention Classes. For example, the question of what duty

Tyler Technologies owed to the individuals who were allegedly

arrested and/or detained without legal authority because of

alleged defects in Tyler’s software is a legal question common

to all members of both classes. As are the factual questions

related to Tyler’s alleged software defects, such as whether

they occurred, when they occurred, and the processes and people

they may have affected.17 And the legal question of whether

Tyler’s response to any alleged defects was sufficient to

satisfy any duty of care it may have owed also applies to all

class members. At this stage, it appears that these questions

may be capable of “generat[ing] common answers apt to drive the

resolution of the litigation.” EQT Prod. Co. v. Adair, 764 F.3d

347, 360 (4th Cir. 2014) (emphasis and citation omitted).

     With respect to Rule 23(b), Tyler argues that common

questions will not predominate because the question of injury

will require a series of “mini-trials.” (Def. Tyler

Technologies’ Mem. (Doc. 91) at 39.) With respect to injury,



     17As to proximate cause, Defendant argues that this court
“will also have to determine, for each hypothetical class
member: whether a hypothetical class member’s arrest or
detention was in any way related to the eCourts system.” (Def.
Tyler Technologies’ Mem. (Doc. 91) at 40.) But without the
benefit of discovery, this court cannot ascertain whether this
question will be a highly fact-intensive individualized inquiry
that would predominate over common questions.
                                 - 29 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 29 of 97
Tyler argues this court will need to decide for each class

member whether or not their arrest or detention was in fact

“unlawful.” (Id. at 33.) According to Tyler, “there is nothing

Plaintiffs could uncover in discovery that would alleviate the

need for these individualized inquiries.” (Id.) This court does

not agree. As an initial matter, it is not clear that questions

related to injuries will be so complex as to “predominate” over

other common questions. The question of whether an arrest or

detention was lawful may turn simply on the question of whether

there was a valid warrant for the class member’s arrest when

they were arrested.18 This would require individualized inquiries

but would not be so complex as to qualitatively “predominate,”

over other common issues. Cf. In re Marriott Int'l, Inc.,

Customer Data Sec. Breach Litig., 341 F.R.D. 128, 155 (D. Md.



     18In North Carolina, “[a] judicial official may issue a
warrant for arrest only when he is supplied with sufficient
information . . . to make an independent judgment that there is
probable cause to believe that a crime has been committed and
that the person to be arrested committed it.” N.C. Gen. Stat. §
15A-304(d). The putative Wrongful Arrest Class does not allege
that a judicial official improperly determined probable cause,
which may be a complex and individualized inquiry, but rather
allege that they were arrested or detained “pursuant to warrants
that would not have been issued but for Defendants’ adoption,
implementation and design of eCourts,” (SAC (Doc. 77) ¶ 229),
and thus that this process never occurred. Accordingly, the
inquiry may not be a fact-intensive question of whether or not
probable cause existed, but rather the more easily discoverable
question of whether or not the warrant was issued in accordance
with North Carolina law.
                                 - 30 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 30 of 97
2022), vacated and remanded sub nom. In re Marriott Int'l, Inc.,

78 F.4th 677 (4th Cir. 2023), and reinstated by In re Marriott

Int'l Customer Data Sec. Breach Litig., 345 F.R.D. 137 (D. Md.

2023) (“If the ‘qualitatively overarching issue[s]’ are common,

a class may be certified notwithstanding the need to resolve

individualized issues.”).

     Questions related to overdetention fare the same. Whether

an alleged overdetention is considered “unlawful,” may turn on a

common question of statutory interpretation as to the temporal

requirements of North Carolina law, which requires that jailers

“effect . . . release” upon satisfaction that conditions of

release have been met. N.C. Gen. Stat. § 15A-537. Although

application of that legal rule would be individualized, without

the benefit of discovery, this court cannot determine whether or

not it would predominate over other common issues.19

     Finally, and most importantly, even if injury and proximate

cause are ultimately individualized questions that would

predominate over any common questions, Federal Rule of Civil



     19Defendant Tyler argues that “determining when ‘the basis
for detention ended’ will require an individualized inquiry for
every class member.” (Def. Tyler Technologies’ Reply (Doc. 111)
at 18.) That may be true — but at this time, this court cannot
determine whether this will be a fact-intensive inquiry as Tyler
suggests or, rather, whether discovery will reveal records which
alleviate any factual burden in ascertaining the time the basis
for detention ceased to exist.
                                 - 31 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 31 of 97
Procedure 23(c)(4) provides that “[w]hen appropriate, an action

may be brought or maintained as a class action with respect to

particular issues.” Fed. R. Civ. P. 23(c)(4). In Gunnells v.

Healthplan Services, Inc., the Fourth Circuit held that this

rule could be used to certify certain claims for class

treatment, provided that “within that claim or claims (rather

than the entire lawsuit as a whole), the predominance and all

other necessary requirements of subsections (a) and (b) of Rule

23 are met.” 348 F.3d at 441.20 Courts in this circuit are

instructed to “take full advantage of the provision in

subsection (c)(4).” Id. (quoting In re A.H. Robins, 880 F.2d

709, 740 (4th Cir. 1989)).

     Defendant’s argument against certification at this early

stage ignores the possible application of Rule 23(c)(4) to

certify the class as to certain issues, such as what appears to

be the common and critical issues of duty and breach. Courts

within this circuit have used Rule 23(c)(4) to certify classes


     20Although Gunnells specifically addressed the application
of Rule 23(c)(4) to claims, it also notes that “[s]everal courts
and a number of distinguished commentators have explicitly
endorsed a broad issue specific predominance analysis of Rule
23.” Gunnells, 348 F.3d at 441; see also Elegant Massage, LLC v.
State Farm Mut. Auto. Ins. Co., 95 F.4th 181, 199 n.5 (4th Cir.
2024) (Wynn, J., concurring) (“In Gunnells, we focused on using
Rule 23(c)(4) to split ‘claims,’ but we recognized that Rule
23(c)(4) permits a class action on ‘particular issues’ and
approvingly discusses the approach of certifying a class with
respect to individual issues.”).
                                 - 32 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 32 of 97
with respect to common issues in negligence actions. See In re

Marriott, 345 F.R.D. at 169 (limiting class certification to

issues of duty and breach explaining that “[p]laintiffs will use

the same evidence in their attempt to establish duty and breach

for their negligence and negligence per se claims”); Good v. Am.

Water Works Co., Inc., 310 F.R.D. 274, 295–96 (S.D. W. Va. 2015)

(certifying class as to issues of fault and comparative fault

and stating that “the proposed liability issue certifications

provide an orderly means to resolve some of the central issues

in the case”).

     In accordance with the analysis set forth above, this court

finds that Plaintiffs have plausibly alleged the putative

Wrongful Arrest and Overdetention Classes against Tyler

Technologies, and that a factual record must be developed

“before determining whether the case should move forward on a

representative basis.” Cf. Manning, 725 F.3d at 59.21




     21Additionally, this court is not persuaded by Defendant’s
argument that the class should be dismissed because the question
of damages would be individualized. (See Def. Tyler
Technologies’ Mem. (Doc. 91) at 38). The Fourth Circuit has
explained that “[c]ourts have routinely rejected this argument,
concluding, as we have in previous cases, that the need for
individualized proof of damages alone will not defeat class
certification.” Gunnells, 348 F.3d at 429.
                                 - 33 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 33 of 97
     B.   Negligence Claims

     A claim of negligence under North Carolina law requires a

plaintiff to allege “(1) a legal duty; (2) a breach thereof; and

(3) injury proximately caused by the breach.” Fussell v. N.

Carolina Farm Bureau Mut. Ins. Co., 364 N.C. 222, 226, 695

S.E.2d 437, 440 (2010) (citation omitted). In North Carolina,

“[t]he law imposes upon every person who enters upon an active

course of conduct the positive duty to exercise ordinary care to

protect others from harm.” Id.; see also DeRose for Est. of

DeRose v. DoorDash, Inc., 675 F. Supp. 3d 591, 602 (E.D.N.C.

2023).

          1.    Tyler Technologies

     All Plaintiffs allege that Defendant Tyler Technologies

assumed “a duty of reasonable care to Plaintiffs and each Class

to ensure that its eCourts system — which includes Odyssey and

eWarrants — would operate properly such that the rights of

Plaintiffs and members of each Class to be free from unlawful

arrest and detention would and could be honored,” when it

“decided and agreed to develop the eCourts software applications

on behalf of North Carolina and its citizenry.” (SAC (Doc. 77)

¶¶ 239–40.)

     Specifically, Plaintiffs allege that Defendant Tyler

Technologies owed them the following duties:


                                 - 34 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 34 of 97
     a. The duty to supply accurate information to end-users
     (or to develop software applications that provide
     accurate information to end-users);

     b. The duty to ensure that eWarrants and Odyssey
     communicated with one another so as to supply accurate
     information between and among the applications, as well
     as to end-users of each application;

     c. The duty to ensure that eCourts and the end-users of
     eCourts properly utilized any data and information
     entered into eCourts;

     d. The duty to ensure that end-users of eCourts were
     properly trained on how to use eWarrants and Odyssey;22

     e. The duty to ensure that eCourts would be free of
     defects;

     f. The duty to ensure that end-users were timely notified
     of any defects; and

     g. In such further ways as may be shown by the evidence.

(Id. ¶ 241.) Further, Plaintiffs allege that Tyler Technologies,

in its contract with NCAOC, warranted “that the Tyler Software

[eCourts] will perform without Defects during the term of this

Contract.” (Id. ¶ 242 (quoting Pls.’ Ex. B, Service Level

Agreement (Doc. 77-2) at 18).)




     22Defendant Tyler argues that to the extent Plaintiffs
intended to allege a “separate claim for negligent training
under North Carolina law, that claim fails.” (Def. Tyler
Technologies’ Mem. (Doc. 91) at 18.) This court does not read
the SAC to allege a separate claim for negligent training, but
rather to allege that ensuring “end-users of eCourts were
properly trained on how to use eWarrants and Odyssey,” was a
component of the due care Tyler should have exercised because of
their duty to Plaintiffs.
                                 - 35 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 35 of 97
     Plaintiffs allege that Tyler Technologies breached these

duties, as the software package is “replete with defects that

led to the unlawful arrests and detentions suffered by

Plaintiffs and each Class,” and Defendant Tyler Technologies

“knew or should have known” the defects “would lead to unlawful

arrests and detentions.” (Id. ¶ 243–44.)

     As an additional theory of negligence, Plaintiffs allege

that Tyler Technologies is liable because “it provided

inadequate warning under N.C.G.S. § 99B-5,” because the software

“created an unreasonably dangerous condition that Tyler

Technologies knew or should have known or became aware would

pose a substantial — if not certain — risk of harm to a

reasonably foreseeable claimant: namely, Plaintiffs and each

Class.” (Id. ¶ 246.)

     Defendant Tyler Technologies has moved to dismiss the claim

of negligence against it, (see Doc. 90), arguing that 1) it owed

no duty to Plaintiffs as a software vendor, 2) that Plaintiffs

cannot show proximate cause, and 3) that Plaintiffs’ additional

failure to warn theory fails. (Def. Tyler Technologies’ Mem.

(Doc. 91) at 8–9.)

                i.    Duty

     As will be explained, this court finds that Plaintiffs have

sufficiently alleged the existence of a general duty between


                                 - 36 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 36 of 97
Tyler Technologies and Plaintiffs to require that the motion to

dismiss be denied at this stage of the proceedings. However,

this court’s findings as to duty are preliminary and based

solely upon the complaint and the issues currently before the

court. The analysis set forth herein should not be understood by

the parties to establish, as a matter of law, the existence of a

duty sufficient to establish the law of this case. The question

of whether a duty existed, if at all, between Tyler Technologies

and Plaintiffs cannot be determined until a later stage of this

litigation.

     The parties have not raised or sufficiently addressed

issues that may be necessary to a final determination of the

duties of Tyler Technologies to Plaintiffs, as this court is not

able to determine, whether, for example, the public duty

doctrine might apply.

     Within Article IV of the North Carolina Constitution, § 15

states that “[t]he General Assembly shall provide for an

administrative office of the courts to carry out the provisions

of this Article.” N.C. Const., art. IV, § 15. The legislature

has carried out this constitutional requirement, establishing an

Administrative Office of the Courts, supervised by a Director,

see N.C. Gen. Stat § 7A-340, who is responsible for, inter alia,

“[e]stablish[ing] and operat[ing] systems and services that


                                 - 37 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 37 of 97
provide for electronic filing in the court system and further

provide electronic transaction processing and access to court

information systems,” N.C. Gen. Stat. §7A-343(9a).

     It is not clear to this court whether Plaintiffs could

successfully maintain a negligence action against the

Administrative Office for its failure to adequately perform this

statutory duty.23 In North Carolina, the “public duty doctrine”

provides that “‘governmental entities, when exercising their

statutory powers, act for the benefit of the general public and

therefore have no duty to protect specific individuals.’

Accordingly, the governmental entity is not liable for

negligence for failure to carry out statutory duties.” Isenhour

v. Hutto, 350 N.C. 601, 606–07, 517 S.E.2d 121, 125 (1999)

(citations omitted); see also Strickland v. Univ. of N. Carolina

at Wilmington, 213 N.C. App. 506, 508–13, 712 S.E.2d 888, 890–93

(2011) (providing a comprehensive history of this doctrine in

North Carolina). There are limited exceptions to this rule, such

as where there the government entity maintains a “special

relationship” or a “special duty” to particular individuals.

Stone v. N. Carolina Dep’t of Lab., 347 N.C. 473, 479, 495

S.E.2d 711, 714 (1998).


     23This court notes that Plaintiffs have already dismissed
their claims against the NCAOC Defendants in their official
capacities. (See Docket Entry 02/26/2025.)
                                 - 38 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 38 of 97
     By contracting with Tyler Technologies to develop,

implement, and host court-filing and warrant software, as well

as respond to the software’s defects, (see SAC (Doc. 77) ¶ 71),

the Director of the NCAOC may have delegated his statutory duty

to a private third party. Whether that statutory duty may be

delegated, whether any accompanying liability can be imputed to

the private party assuming the duty, and whether the private

party acts as an agent of the government and may therefore

receive the protections of the public duty doctrine, are all

questions that have not been raised and will remain unanswered

by this order and these motions to dismiss. Instead, it is

possible that these issues, if applicable, may become ripe at

later stages of this litigation24 because North Carolina law

provides that the public duty doctrine is an affirmative

defense.

          Unlike the duty of care, which is an element of any
     negligence claim that a plaintiff must establish
     regardless of whether the claim is against a state agency
     under the State Tort Claims Act or a private party under
     the common law, see Stone, 347 N.C. at 479, 495 S.E.2d
     711, the public duty doctrine is an affirmative defense
     to an otherwise valid negligence claim against the
     State, see Ray [v. N. Carolina Dep’t of Transp.], 366
     N.C. [1], 8, 727 S.E.2d 675; see also Myers [v. McGrady],
     360 N.C. [460], 465, 628 S.E.2d 761 (describing the

     24See Goodman v. Praxair, Inc., 494 F.3d 458, 464 (4th Cir.
2007) (explaining that “a motion to dismiss filed under Federal
Rule of Procedure 12(b)(6), which tests the sufficiency of the
complaint, generally cannot reach the merits of an affirmative
defense”).
                                 - 39 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 39 of 97
     public duty doctrine as “a separate rule of common law
     negligence that may limit tort liability, even when the
     State has waived sovereign immunity”). For that reason,
     while the public duty doctrine protects governmental
     entities from liability based upon a failure to carry
     out a statutorily created duty that is designed to
     protect the public at large rather than a specific
     individual, Isenhour, 350 N.C. at 606–07, 517 S.E.2d
     121,   and   “operates   to   prevent   plaintiffs   from
     establishing the first element of a negligence claim—
     duty to the individual plaintiff,” Ray, 366 N.C. at 5,
     727 S.E.2d 675, the mere fact that the doctrine does not
     apply with respect to a particular set of facts does
     not, without more, determine whether the duty of care
     necessary to support the assertion of a negligence claim
     exists in the first place. Although the two legal
     doctrines are related, they are not identical, and the
     absence of one does not prove the existence of the other.

Cedarbrook Residential Ctr., Inc. v. N. Carolina Dep't of Health

& Hum. Servs., 2022-NCSC-120, 383 N.C. 31, 74, 881 S.E.2d 558,

588 (2022).

     The public duty doctrine and various other state law

doctrines could apply to an analysis of Plaintiffs’ negligence

claims against Tyler Technologies, resulting in modifications to

the analysis set forth hereafter, which is a limited application

based on the present status of the case and does not establish,

as a matter of law, the analysis of the negligence claim for

purposes of summary judgment or trial.

     Turning to the issue of duty as framed presently by the

complaint and the parties’ briefing, Defendant Tyler

Technologies argues that it “owed no duty to protect Plaintiffs

from the harm alleged — arrest and detention by state actors.”

                                 - 40 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 40 of 97
(Def. Tyler Technologies’ Mem. (Doc. 91) at 14.) The crux of

Tyler’s argument is that it did not personally inflict the

injuries alleged, and therefore, can only be held liable if a

special relationship existed that imposed an affirmative duty

upon it to protect Plaintiffs from harm imposed by third

parties. (Id.) Plaintiffs argue in response that Defendant Tyler

Technologies had a common law duty to Plaintiffs because the

harm that befell them at the hands of state actors was

foreseeable and “[t]he touchstone for the creation of a tort

duty is foreseeability.” (Pls.’ Resp. to Tyler Technologies’

Mem. (Doc. 103) at 8.)25




     25Additionally, Plaintiffs argue that pursuant to a tort
theory of “assumption of duty,” Tyler “assumed a positive legal
duty to Plaintiffs,” when it entered into the software package
contract with NCAOC and warranted that the software would
perform without defects, a promise that Plaintiffs argue, “[t]he
State and general public relied” upon. (Pls.’ Resp. to Tyler
Technologies’ Mot. (Doc. 103) at 9–11.) Defendant replies,
arguing that the warranty provision does not create a duty to
provide a defect-free software, but “provides a warranty from
Tyler to NCAOC that provides an express procedure for addressing
any discovered defects,” and further, that Plaintiffs cannot
pursue a claim of negligence under this warranty, because “North
Carolina preserves the privity requirement in actions based on
breach of warranty.” (Def. Tyler Technologies’ Reply (Doc. 111)
at 8–9.) Because this court finds that Plaintiffs have plausibly
alleged the existence of a general common law duty sufficient to
require that the motion to dismiss be denied, this court does
not find it necessary to resolve these related questions at this
stage.
                                 - 41 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 41 of 97
                 Duty to Protect From a Third Party

     Defendant Tyler Technologies argues that the general rule

that “there is neither a duty to control the actions of a third

party, nor to protect another from a third party,” Scadden v.

Holt, 222 N.C. App. 799, 802, 733 S.E.2d 90, 92 (2012), applies

to the claim of negligence against it. (See Def. Tyler

Technologies’ Mem. (Doc. 91) at 14–17.) That rule does not

apply, at this stage, to Plaintiffs’ theory and the facts

alleged. The rule applies when a plaintiff seeks to impose

liability for a defendant’s failure to stop a third party from

injuring the plaintiff. See Stein v. Asheville City Bd. of Edu.,

360 N.C. 321, 328, 626 S.E.2d 263, 268 (2006) (applying this

rule where “[t]here [was] no allegation defendant or its

personnel encouraged, planned, or executed the [injury]; rather,

plaintiffs rest their claims on the failure of . . . defendant,

to take reasonable steps to frustrate the plans of [the

individuals who harmed the plaintiff.]”).

     Here, Plaintiffs do not seek to impose liability upon

Defendant Tyler for failing to protect them from the state

actors who arrested and/or detained them, but rather for the

affirmative acts of providing, implementing, and maintaining

defective software that Plaintiffs allege caused their injuries.

(See SAC (Doc. 77) ¶ 241); cf. Stone St. Partners, LLC v.


                                 - 42 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 42 of 97
Williamson, No. 17 CVS 15265, 2018 WL 3619518, at *6 (N.C.

Super. July 26, 2018) (explaining the distinction between a case

where a defendant is alleged to have failed to prevent harm

caused by a third party and a case where a defendant’s

affirmative act harmed a third party). The fact that Tyler

Technologies did not personally arrest or detain Plaintiffs does

not necessarily mean they cannot be held liable for those

injuries. See Ballance v. Wal-Mart Stores, Inc., 178 F.3d 1282,

1999 WL 231653, at *3 (4th Cir. Apr. 21, 1999) (“North Carolina

law is clear that even if a third party . . . contributed to the

injury, the original tortfeasor may still be liable so long as

the injury was a reasonably foreseeable result of its actions.”)

                          General Common Law Duty

     Plaintiffs allege that Defendant Tyler Technologies

provided, implemented, and maintained, software “replete with

defects,” (SAC (Doc. 77) ¶ 243), to North Carolina courts and

Sheriffs’ Offices. Thus Plaintiffs have plausibly alleged that

the general common law duty of ordinary care imposed upon “every

person who enters upon an active course of conduct,” is

implicated here. See Fussell, 364 N.C. at 226, 695 S.E.2d at

440; see also Council v. Dickerson's, Inc., 233 N.C. 472, 474–

75, 64 S.E.2d 551, 553 (1951) (“The law imposes upon every

person who enters upon an active course of conduct the positive


                                 - 43 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 43 of 97
duty to exercise ordinary care to protect others from harm, and

calls a violation of that duty negligence. It is immaterial

whether the person acts in his own behalf or under a contract

with another.”).

     The finding of a general duty, however, does not conclude

the analysis of Plaintiffs’ negligence claim. Under North

Carolina law, the general duty of ordinary care is proscribed by

the foreseeability of Plaintiffs’ injuries. See Bridges v.

Parrish, 222 N.C. App. 320, 324, 731 S.E.2d 262, 266 (2012),

aff'd, 366 N.C. 539, 742 S.E.2d 794 (2013) (“The duty of

ordinary care . . . extends only to causes of injury that were

reasonably foreseeable . . . .”).

     Defendant argues that foreseeability cannot create a

standalone duty. (Def. Tyler Technologies’ Reply (Doc. 111) at

7–8.) It is true that foreseeability does not impose a legal

duty where none would otherwise exist. See Scadden, 222 N.C.

App. at 804, 733 S.E.2d at 93–94. Plaintiffs, at this stage, are

not relying upon foreseeability to create a standalone duty.

Instead, as explained above, Plaintiffs have plausibly alleged a

general duty of due care. The idea that “[n]o legal duty exists

unless the injury to the plaintiff was foreseeable and avoidable

through due care . . . is an accurate reflection of the general

law on duty in a negligence action.” Id. at 804, 93 (quotation


                                 - 44 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 44 of 97
marks and citation omitted). In other words, the common law duty

applicable here is proscribed by the foreseeability of the

injuries alleged. Although courts in North Carolina have

discussed “foreseeability of injury . . . both in terms of the

duty owed and of proximate cause,” Carsanaro v. Colvin, 215 N.C.

App. 455, 461, 716 S.E.2d 40, 46 (2011) (citation and emphasis

omitted), North Carolina courts have consistently used

foreseeability to determine the scope of duty. See, e.g., Est.

of Mullis by Dixon v. Monroe Oil Co., 349 N.C. 196, 205, 505

S.E.2d 131, 137 (1998) (“The orbit of the danger as disclosed to

the eye of reasonable vigilance is the orbit of the duty.”

(quoting Palsgraf v. Long Island R. Co., 248 N.Y. 339, 344, 162

N.E. 99, 100 (1928)) (cleaned up))).

     This court finds that Plaintiffs have plausibly alleged

that Tyler Technologies engaged in an active course of conduct

such that the general common law would impose a duty of “due

care.” This court further finds that Plaintiffs have plausibly

alleged that their injuries were reasonably foreseeable such

that Tyler’s duty of care extended to them. “In order to plead

[reasonable foreseeability of injury] properly, a plaintiff must

set out allegations showing that a man of ordinary prudence

would have known that [plaintiff's injury] or some similar

injurious result was reasonably foreseeable.” Carsanaro, 215


                                 - 45 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 45 of 97
N.C. App. at 461, 716 S.E.2d at 46 (citation and emphasis

omitted).

     Plaintiffs allege that Tyler Technologies “knew or should

have known that these defects in eCourts would lead to unlawful

arrests and detentions,” (SAC (Doc. 77) ¶ 244), and that “[o]ver

the last decade, similar software implementations by Defendant

Tyler Technologies, Inc. . . . led to well-documented cases of

overdetention, wrongful arrest, and the like,” (id. ¶ 4).

     Specifically, Plaintiffs allege that Defendant Tyler

Technologies knew or should have known that the defects in

eCourts would lead to unlawful arrests and detentions because

its software had been associated with similar injuries in other

states:

     b. That same year [(2011)], Merced County, California
     experienced a breakdown in communications between its
     criminal court and its jail after adopting Odyssey.

     c. In 2014, Cameron County, Texas struggled to track
     inmates in its jails after transitioning to Odyssey.

     d. In 2016, public defenders in Alameda County,
     California   identified   dozens  of cases    in which
     individuals had been wrongfully arrested; detained when
     they should have been released; or incorrectly told that
     they should register as sex offenders. The problems were
     so significant that Alameda opted not to use Odyssey for
     its civil, probate, or family matters. . . .

     e. Likewise, a 2016 class action against Shelby County,
     Tennessee officials, Tyler Technologies, and others
     alleged   that  a   transition   to   Odyssey  led   to
     overdetention, wrongful arrest, and other harms. That


                                 - 46 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 46 of 97
     case, which was pending during North Carolina’s RFP
     process, settled in 2021 for a significant sum.

     f. In 2021, Lubbock County, Texas officials admitted
     that the county’s switch to Odyssey had caused people to
     be detained longer than necessary. . . .

(Id. ¶ 97.)

     Additionally, Plaintiffs allege facts suggesting that Tyler

Technologies was aware of defects in the North Carolina-specific

eCourts software. For example, Plaintiffs allege that the

Mecklenburg County chief information officer stated publicly

that “Tyler Technologies continued to struggle with several

defects pushing the [launch] date for eWarrants back.” (Id. ¶

74.)26 Further, Plaintiffs allege that “[b]etween February 13,

2023 and April 21, 2023, NCAOC logged (and reported to Tyler

Technologies) more than 573 software application defects.” (Id.

¶ 82.) As nearly all named Plaintiffs’ injuries occurred

sometime after early March 2023, (see id. ¶¶ 104–06, 111–14,




     26Defendant argues that the SAC does not link this
statement, which was made in August 2021, “to the live operation
of eCourts.” (Def. Tyler Technologies’ Mem. (Doc. 91) at 26.)
But the question of foreseeability only requires that an
individual of “ordinary prudence would have known that
[plaintiff's injury] or some similar injurious result was
reasonably foreseeable.” Carsanaro, 215 N.C. App.at 461, 716
S.E.2d at 46 (emphasis omitted). Plaintiffs’ factual allegations
that defects in eWarrants, a component of the eCourts software,
were known and documented in 2021 supports the idea that
subsequent defects, such as the defects Plaintiffs allege here,
were foreseeable.
                                 - 47 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 47 of 97
119–123, 129–30, 134, 143, 152, 167, 174, 183, 194, 225), 27 the

logged application defects that arose prior to each named

Plaintiff’s injury also bolsters the inference that it was

foreseeable that Tyler Technologies’ software would continue to

encounter defects.

     Plaintiffs have plausibly alleged that Tyler Technologies

was aware or should have been aware that its software suffered

from defects and the alleged injuries resulting from those

defects were foreseeable. This court therefore finds that

Plaintiffs have plausibly alleged that the wrongful arrests and

overdetentions of the named Plaintiffs were reasonably

foreseeable. Those of “ordinary prudence” would have known that

the existence of defects in software used to manage court

documents and warrants may lead to wrongful arrests and

overdetentions. See Carsanaro, 215 N.C. App. at 461, 716 S.E.2d

at 46.

     Accordingly, based solely on the arguments presented by the

parties and the issues as presently framed, this court finds




     27 Plaintiff Robert Lewis was arrested in the fall of 2022.
(SAC (Doc. 77) ¶ 215–16.) Although the NCAOC logged defects
occurring in 2023 do not support the foreseeability of his
injury, the alleged defects associated with Tyler’s software in
other states does — and those facts are sufficient to support
the foreseeability of his injury and thus Defendant Tyler’s duty
to him.

                                 - 48 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 48 of 97
that Plaintiffs have plausibly alleged that Defendant Tyler

Technologies owed them a duty of reasonable care and that the

injuries described were reasonably foreseeable.

                ii.   Proximate Cause

     A claim of negligence under North Carolina law requires a

plaintiff to establish that his injury was “proximately caused”

by the defendant’s breach. Fussell, 364 N.C. at 226, 695 S.E.2d

at 440.

     Proximate cause has been defined as “a cause which in
     natural and continuous sequence, unbroken by any new and
     independent cause, produced the plaintiff's injuries,
     and without which the injuries would not have occurred,
     and one from which a person of ordinary prudence could
     have reasonably foreseen that such a result, or
     consequences of a generally injurious nature, was
     probable under all the facts as they existed.”

Adams v. Mills, 312 N.C. 181, 192–93, 322 S.E.2d 164, 172 (1984)

(citation omitted). Notably, foreseeability, which, as discussed

above, defines the scope of duty, “is also an element of

proximate cause.” Stein v. Asheville City Bd. of Educ., 360 N.C.

321, 328, 626 S.E.2d 263, 268 n.5 (2006).

     Defendant Tyler Technologies argues that Plaintiffs have

not plausibly alleged that its conduct proximately caused their

injuries. First, Tyler argues that “[t]he allegations here point

to the conduct of many state actors — not Tyler.” (Def. Tyler

Technologies’ Mem. (Doc. 91) at 20.) The upshot of this argument

is that because Plaintiffs have, within the SAC, also attributed

                                 - 49 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 49 of 97
their injuries to the actions of individuals other than Tyler,

Tyler’s actions could not have proximately caused those

injuries. As Tyler argues, “[n]o well-pleaded allegation links

any action by Tyler, as a software vendor, to Plaintiffs’ harm.”

(Id. at 21.)

     As an initial matter, “[i]t is well settled that there may

be more than one proximate cause of an injury.” Adams, 312 N.C.

at 194, 322 S.E.2d at 172. The first negligent party will only

be insulated from liability where “the intervening negligence of

another . . . break[s] the sequence or causal connection between

the negligence of the first party and the injury, so as to

exclude the negligence of the first party as one of the

proximate causes of the injury.” Id. at 172–73. Accordingly, the

fact that Plaintiffs allege both that Tyler Technologies’

software defects proximately caused their harm and that the

Sheriff Defendants’ failures (i.e., failures to confirm the

validity of warrants or to ensure individuals were not

overdetained) proximately caused their harm poses no per se

legal problem. And even if Plaintiffs intended to impose

complete, mutually exclusive liability upon either Tyler or the

Sheriff Defendants, that too is permissible at the motion to

dismiss stage. See Fed. R. Civ. P. 8(a)(3) (explaining that

pleadings must include “a demand for the relief sought, which


                                 - 50 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 50 of 97
may include relief in the alternative” (emphasis added)); see

also Hayes v. Prudential Ins. Co. of Am., 60 F.4th 848, 855 (4th

Cir. 2023) (“Federal Rule of Civil Procedure 8(a)(3)

specifically permits pleading ‘in the alternative[.]’”).

     Further, Defendant Tyler’s argument that “[n]o well-pleaded

allegation links any action by Tyler, as a software vendor, to

Plaintiffs’ harm,” is plainly belied by the SAC. 28 As to the

Plaintiffs Fields, Nunez, and Hayward, each alleges that their

overdetention was caused by Defendants’ adoption and

implementation of eCourts, including an integration defect

between Odyssey and eWarrants. (See SAC (Doc. 77) ¶¶ 108, 116,

125.) And this causal allegation is supported by specific facts

alleged within the SAC. First, Plaintiffs allege that

     [d]uring the first four days following the launch of
     eCourts in Mecklenburg County, and due to these
     technological defects, approximately 66 people were
     detained well beyond the point their conditions of
     release were satisfied. Prior to eCourts, it would take
     anywhere from 2-4 hours for a detainee in Mecklenburg
     County to be released; but after eCourts, some people
     were held for 2-3 days despite having satisfied all
     conditions imposed on them by the justice system.




     28Tyler’s self-described status as a “software vendor”
minimizes its role. Tyler, by its own admission, does not just
sell the software, it also “assists in implementing that
software so that its clients can operate it in live production,
and provides maintenance and support to triage performance
issues and answer end-user questions.” (Def. Tyler Technologies’
Mem. (Doc. 91) at 10–11.)

                                 - 51 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 51 of 97
(Id. ¶ 92.) This allegation, which evinces a temporal nexus

between the implementation of Tyler Technologies’ software and

instances of overdetention in Mecklenburg County, permits a

plausible inference that Tyler Technologies’ software caused

Plaintiffs’ overdetentions in Mecklenburg County.29 Additionally,

Plaintiffs have attached an October 17, 2023, email from the

Mecklenburg County Chief Judge, in which she specifically states

that she has become aware “of a known integration issue between

eWarrants and Odyssey which impacts defendants whose conditions



     29Defendant’s argument that “[t]his allegation . . . lacks
sufficient details,” asks too much of Plaintiffs at the Rule
12(b)(6) stage. “Complaints need not give ‘detailed factual
allegations,’ but a plaintiff must provide more than ‘a
formulaic recitation of the elements of a cause of action’ or
‘labels and conclusions’ to avoid dismissal under Rule 12(b)(6).
Withers v. BMW of N. Am., LLC, 560 F. Supp. 3d 1010, 1017
(W.D.N.C. 2021) (quoting Twombly, 550 U.S. at 555). This court
finds Plaintiffs’ allegation that “66 people were detained well
beyond the point their conditions of release were satisfied”
within four days of the implementation of the eCourts software
in Mecklenburg County to satisfy Twombly and Iqbal’s pleading
directives. See supra Section III.
     Additionally, this court does not find compelling the
argument that “the SAC does not allege that Tyler was somehow
responsible for these detentions.” (Def. Tyler Technologies’
Mem. (Doc. 91) at 26.) The fact that immediately following the
implementation of Tyler’s software, which Plaintiffs allege had
experienced defects in the past, sixty-six people were detained
for far longer than what was typical in the county makes
plausible that Tyler’s conduct caused the overdetentions, which
is all that is needed on a motion to dismiss. Cf. City of High
Point, N. Carolina v. Suez Treatment Sols. Inc., 485 F. Supp. 3d
608, 630 (M.D.N.C. 2020) (“Proximate cause is an inference of
fact, to be drawn from other facts and circumstances.”).

                                 - 52 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 52 of 97
of release are modified in court and should be released.” (Pls.’

Ex. D, Chief Judge Email (Doc. 77-4) at 2.) In this email, she

explains that “[i]n some cases, the information does not migrate

from eWarrants to Odyssey.” (Id.) The email explains the way

“the integration is designed and expected to perform, what the

defect is and [the] local business practices for correcting it.”

(Id.) She provides end-users with “two workarounds . . . to

correct these errors.”30 (Id. at 2–3.) This email, which

recognizes defects in the software “which impact[] defendants

whose conditions of release are modified in court and should be

released,” was sent around the time that all three named

overdetention plaintiffs were allegedly overdetained. (Id. at

2.) Accordingly, this email provides factual support for the



     30Defendant Tyler argues the following: “Plaintiffs also
highlight Judge Trosch’s email to court personnel about an
alleged ‘integration issue’ in eCourts. SAC ¶ 91. But the email
states this was a problem only if magistrates and clerks do not
update the system, or if the magistrate fails to look under the
correct tab.” (Def. Tyler Technologies’ Mem. (Doc. 91) at 25–
26.) This misrepresents the contents of the email. Nowhere in
the email is there any indication that the errors were user-
created — rather the entirety of the email focuses on explaining
the way the software is supposed to function and how it was
failing to do so. The Chief Judge does not assert that the
problem only arises if magistrates and clerks fail to update the
system or check under the correct tab — instead, she proposes
manual “workarounds” to address the error. See Work-around,
Merriam-Webster, https://www.merriam-
webster.com/dictionary/work-around (last visited March 10, 2025)
(“a plan or method to circumvent a problem (as in computer
software) without eliminating it”).

                                 - 53 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 53 of 97
allegation that Tyler Technologies’ software proximately caused

the named Plaintiffs’ overdetentions.

     Defendant Tyler further argues that the Plaintiffs Spruill,

Chaplin, McNeil, Robertson, Jallal, Bradley, Lassiter, Lewis,

and Sifford have each failed to plausibly allege causation.

Plaintiff Lewis, a resident of Guilford County, alleges that in

2016, he was the subject of a restraining order that was

“quickly dissolved.” (SAC (Doc. 77) ¶¶ 213–14.) Despite the

order’s dissolution, Plaintiffs allege that it remained “visible

in eWarrants,” and he was arrested for violating it in the fall

of 2022. (Id. ¶ 215–16.) Defendant argues that Lewis, as a

resident of Guilford County, “does not even live in a County

where eCourts has gone live.” (Def. Tyler Technologies’ Mem.

(Doc. 91) at 23.) But Plaintiffs allege that eWarrants, the

component of the eCourts package implicated in Plaintiff Lewis’

allegations, went live statewide in July 2022, and thus,

according to Plaintiffs’ allegations, was utilized at the time

of Plaintiff Lewis’ arrest. (SAC (Doc. 77) ¶ 74.) Further,

Defendant argues that “[Plaintiff Lewis] objects to the failure

of unnamed state defendants to dissolve a restraining order from

2016 — long before eCourts was implemented.” (Def. Tyler

Technologies’ Mem. (Doc. 91) at 23.) Plaintiff Lewis does not so

allege. He alleges that a dissolved restraining order remained


                                - 54 -



 Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 54 of 97
visible in Defendant Tyler’s software system. It is plausible

that this order remained visible in Defendant Tyler’s system

because of a software defect. Whether there are other plausible

causes, such as failures of “unnamed state defendants,” remains

to be seen — but all that is required of Plaintiff on a motion

to dismiss is to allege facts which permit a plausible inference

of proximate cause. Plaintiff Lewis has done so.

     Next, Tyler argues “Plaintiff Spruill alleges his detention

was caused by the failure of the Wake County Sheriff’s Office to

correct an invalid warrant, not because of eCourts.” (Id. at

23.) Plaintiff Spruill actually alleges that despite posting

bond, “the warrant for his arrest remained marked as ‘active’ in

eWarrants,” which caused his subsequent arrest on the same

warrant, and that even after a police officer called and asked

the Wake County Sheriff’s Office to confirm the warrant was

invalid and to update the system accordingly, he was again

arrested four days later. (SAC (Doc. 77) ¶¶ 128, 129–30, 132,

134.) Nowhere in these allegations does Plaintiff Spruill

attribute the error to any failure of the Sheriff’s Office to

correct the invalid warrant. (See id.) While it is plausible

that the error was the result of the deputy’s failure to correct

the warrant, it is equally plausible that the deputy did

manually correct the warrant in the system, but the system


                                 - 55 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 55 of 97
failed to reflect that correction, especially in light of other

factual allegations that Tyler’s software suffered from defects,

including defects specifically linked to warrants, (see SAC

(Doc. 77) ¶ 91 (alleging a “known ‘integration issue’ between

eWarrants and Odyssey”)). Plaintiff Spruill has plausibly

alleged proximate cause.

     Defendant Tyler argues that “Plaintiff McNeil attributes

her detention to state actors entering a failure-to-appear

charge in error . . . which does not involve Tyler.” (Def. Tyler

Technologies’ Mem. (Doc. 91) at 23.) That is not what Plaintiff

McNeil alleges. Rather, she alleges that after a court struck

McNeil’s erroneous failure to appear warrant on September 12,

2022, she was arrested on the same warrant on May 29, 2023, and

informed by the Wake County Sheriff’s Office that the warrant

was valid. (SAC (Doc. 77) ¶¶ 149–50, 152, 154.) A Wake County

Clerk’s Office employee told McNeil “the failure to appear

warrant should have been recalled from the electronic system.”

(Id. ¶ 157). While it is plausible that the failure to recall

the warrant was the result of human clerical error, it is again,

equally plausible, especially in light of the existence of other

alleged defects with the software, that the system erroneously

failed to reflect that the warrant had been stricken by the

court. Plaintiff McNeil has plausibly alleged proximate cause.


                                 - 56 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 56 of 97
     Finally, Defendant Tyler argues that “the SAC alleges that

the remaining Plaintiffs’ [(Robertson, Jallal, Bradley,

Lassiter, Sifford, and Chaplin)] injuries resulted from state

actors . . . and not because of actions controlled by Tyler.”

(Def. Tyler Technologies’ Mem. (Doc. 91) at 24.) This court

disagrees.

     Plaintiff Robertson alleges her court date was reset

without her or her attorney’s knowledge, and she was ultimately

arrested as a result of her failure to appear on that date. (SAC

(Doc. 77) ¶¶ 163–64, 166–67) She also alleges that “no one in

the Wake County Clerk’s Office or the District Attorney’s Office

has been able to explain how the date change occurred.” (Id. ¶

164.)

     Plaintiff Jallal alleges that his case was “incorrectly

designated as ‘called and failed,’” (id. ¶ 172), and he was

arrested on a warrant for this erroneous failure to appear, (id.

¶ 174).

     Plaintiff Bradley alleges that although his charges were

dismissed and his ”dismissal paperwork was submitted to the

court,” Odyssey marked his case as “called and failed,” and he

was arrested for that “failure to appear.” (Id. ¶¶ 179–83.)

     Plaintiff Chaplin alleges that after the court dismissed a

warrant for her failure to appear and her case was designated as


                                 - 57 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 57 of 97
“resolved” in Odyssey, she was arrested on the dismissed warrant

a month later, (SAC (Doc. 77) ¶¶ 141–43). As Plaintiff alleges,

she “was rearrested because, although her case had been

‘resolved,’ Odyssey did not communicate that resolution to

eWarrants, in contravention of the software’s intended design.”

(Id. ¶ 144.)

     Plaintiff Lassiter alleges that Odyssey displayed a “called

and failed,” for a court date that he had been present for,

which led to his subsequent arrest on that warrant. (Id. ¶¶ 187,

190, 193–94.) He also alleges that a 2001 warrant that had been

previously resolved was “revived” during the transition to

eCourts. (Id. ¶ 198.)

     Finally, Plaintiff Sifford alleges that an outstanding

warrant against him was dismissed in 2022, but remained “active”

in eWarrants, which led to his arrest. (Id. ¶¶ 224, 226–27.)

     The crux of Tyler’s argument appears to be that the named

Plaintiffs’ alleged wrongful arrests and alleged overdetentions

could have been the result of clerical, human errors as opposed

to any problems with the implementation and maintenance of Tyler

Technologies’ software. (See Def. Tyler Technologies’ Mem. (Doc.

91) at 24.) It is true that Plaintiffs are not able to

definitively state that software defects specifically were the

source of their injuries. And it may be true that clerical


                                 - 58 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 58 of 97
errors by end-users were the actual cause of those injuries, as

opposed to any defects in Tyler’s software. But it is unclear

how, at this stage of litigation, without the benefit of

discovery, Plaintiffs would be able to determine which of those

possible causes was responsible for their injuries. And the

possibility Tyler Technologies’ development, implementation, and

maintenance of the eCourts software is far from speculative,

given the aforementioned allegations regarding defects in the

technology and associated injuries.

     In sum, this court is satisfied that all named Plaintiffs’

causal allegations, supported by factual allegations of software

defects and associated harms, permit the plausible inference

that Tyler Technologies’ software defects proximately caused

their injuries.31

          2.    Sheriff Defendants

     Plaintiffs also bring claims of negligence against

Defendants McFadden and Rowe in their official capacities. (SAC

(Doc. 77) ¶¶ 247–57.) In North Carolina, “a suit against a


     31Because Plaintiffs do not respond to Defendant’s
arguments regarding their statutory failure to warn theory of
negligence, (see SAC (Doc. 77) ¶ 246), this court finds that
they have abandoned that theory. See Sawyers v. United Parcel
Serv., Inc., No. 1:18-cv-1037, 2019 WL 4305771, at *3 (M.D.N.C.
Sept. 11, 2019) (“This district and others within the Fourth
Circuit agree that failing to respond to an argument constitutes
an abandonment of a claim.”).

                                 - 59 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 59 of 97
sheriff in his official capacity is synonymous with a suit

against the sheriff’s department,” White v. Cochran, 216 N.C.

App. 125, 126, 716 S.E.2d 420, 422 (2011), here, the Mecklenburg

County Sheriff's Office for Defendant McFadden, (see SAC (Doc.

77) ¶ 13), and the Wake County Sheriff’s Office for Defendant

Rowe, (id. ¶ 19). Plaintiffs allege that both Sheriff Defendants

have “waived governmental or sovereign immunity from the state

law tort claims in this case pursuant to N.C.G.S § 153A-435,

either by participating in a government risk pool or through

purchasing commercial insurance that will indemnify him and his

agents for any judgment against him or his agents named in this

action,” and through the purchase of an official bond. (Id. ¶

17, 18). Neither Sheriff Defendant disputes that they have

waived governmental immunity “to the extent of the coverage

provided.” Butterfield, 279 N.C. at 559, 866 S.E.2d at 304.

     Plaintiffs Fields, Nunez, and Hayward, on behalf of

themselves and the putative Overdetention Class, bring a claim

of negligence against Sheriff McFadden in his official capacity.

(Id. ¶ 248.) Plaintiffs Spruill, Chaplin, McNeil, Robertson,

Jallal, Bradley, and Lassiter, on behalf of themselves and the

putative Wrongful Arrest Class, bring a claim of negligence

against Sheriff Rowe in his official capacity. (Id. ¶ 249.)




                                 - 60 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 60 of 97
     Plaintiffs allege that all Sheriff Defendants had the

following duties:

     a. To identify warrants issued in their respective
     counties and appearing in eWarrants that were
     invalid;

     b. To not enforce warrants issued in their respective
     counties that they had identified as invalid;

     c. To confirm the validity of warrants in the Odyssey
     system before arresting individuals on a warrant; and

     d. To ensure that individuals are not held
     unnecessarily in the jails and other facilities they
     supervise.

(Id. ¶ 253.)

     Plaintiffs further allege that the Sheriff Defendants

breached these duties in the following respects:

     a. They failed to identify in the eWarrants system
     those warrants issued in their respective counties
     that were invalid;

     b. They failed to confirm the validity of warrants
     prior to arresting individuals pursuant to a warrant;

     c. They repeatedly      enforced    and executed    invalid
     warrants;

     d. They failed to implement systems to ensure that
     individuals ordered released or who had otherwise
     satisfied conditions of release, would be released in
     a timely fashion;

     e. They repeatedly detained individuals for over two
     hours beyond the time they had been ordered released
     or otherwise satisfied their conditions of release;
     and

     f. In such further ways as may be shown by the
     evidence.


                                - 61 -



 Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 61 of 97
(Id. ¶ 254.) Plaintiffs allege that “[t]he Sheriff Defendants,

as the principals for their agents, are responsible under

respondeat superior for negligence committed by their employees

or agents in the course and scope of their employment.” (Id. ¶

255.)

                i.    Langford

     Defendant McFadden argues that Plaintiffs’ claims of

negligence against both Defendant McFadden and Defendant Rowe

suffer from a Langford problem. (Def. McFadden’s Mem. (Doc. 96)

at 11.) In Langford v. Joyner, the Fourth Circuit affirmed the

dismissal of a claim where the plaintiff had only made

“collective allegations against all ‘Defendants’ without

identifying how each individual Defendant personally interacted

with [the plaintiff] or was responsible for [his injury],”

explaining that it failed to satisfy Federal Rule of Civil

Procedure 8(a)(2) and Twombly/Iqbal. 62 F.4th 122, 124–26 (4th

Cir. 2023).

     Plaintiffs have styled their negligence claims against all

Sheriff Defendants in the aggregate, without specifying, within

the paragraphs of the claim, which Sheriff committed which act

of negligence. (See SAC (Doc. 77) ¶¶ 247–57.) However,

Plaintiffs have specified which Plaintiffs are asserting

negligence against which of the two Sheriff Defendants.


                                 - 62 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 62 of 97
Plaintiffs specifically allege that “Plaintiffs Sarah Fields,

Sayeline Nunez, and Thomas Hayward, on behalf of themselves

individually and the Overdetention Class, bring this claim

against Defendant Sheriff McFadden in his official capacity.”

(Id. ¶ 248.) Because Plaintiffs have provided, elsewhere in the

SAC, that Fields, Nunez, and Hayward were subject to

overdetention, this court is able to ascertain that those

Plaintiffs allege negligence against Sheriff McFadden for his

alleged failures to “ensure that individuals are not held

unnecessarily in the jails and other facilities [he]

supervise[s].” (Id. ¶ 253.)

     Similarly, Plaintiffs specifically allege that “Plaintiffs

Kevin Spruill, Timia Chaplin, Rotesha McNeil, Qiana Robertson,

Yousef Jallal, Messiejah Bradley, and Dennis Keith Lassiter, on

behalf of themselves individually and the Wrongful Arrest Class,

bring this claim against Defendant Sheriff Rowe in his official

capacity.” (Id. ¶ 249.) Because Plaintiffs have provided,

elsewhere in the SAC, that these named Plaintiffs were subject

to wrongful arrests or detentions because of invalid warrants,

this court is able to ascertain that those Plaintiffs allege

negligence against Sheriff Rowe for his alleged failures “[t]o

identify warrants issued in their respective counties and

appearing in eWarrants that were invalid; . . . To not enforce


                                 - 63 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 63 of 97
warrants issued in their respective counties that they had

identified as invalid; [and] . . . To confirm the validity of

warrants in the Odyssey system before arresting individuals on a

warrant.” (Id. ¶ 253.)

     The SAC provides specific factual matter that identifies

the alleged negligent actions of each Defendant. Although

Plaintiffs’ method of drafting the complaint makes it somewhat

difficult to discern the claims, it does not suffer from the

same infirmities as the complaint in Langford, which made only

“collective allegations,” that did not identify “how each

individual Defendant personally interacted with [the

plaintiff].” Langford, 62 F.4th at 125.

     Accordingly, this court construes the SAC to allege the

following: negligence against Defendant McFadden only for the

alleged overdetentions of Plaintiffs Fields, Nunez, Hayward and

the putative Overdetention Class, and negligence against

Defendant Rowe only for the alleged wrongful arrests or

detentions of Plaintiffs Spruill, Chaplin, McNeil, Robertson,

Jallal, Bradley, Lassiter and the putative Wrongful Arrest

Class.




                                 - 64 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 64 of 97
                ii.   Rowe

                                  Duty

     Plaintiffs Spruill, Chaplin, McNeil, Robertson, Jallal,

Bradley, Lassiter and the putative Wrongful Arrest Class allege

that Defendant Rowe, in his official capacity, had a duty 1) to

identify, in the eWarrants system, warrants issued in Wake

County that were invalid, 2) to not enforce those identified

invalid warrants, and 3) to confirm the validity of warrants in

the Odyssey system before arresting individuals on a warrant.

(SAC (Doc. 77) ¶ 253.) Defendant Rowe argues that he did not owe

the Plaintiffs these duties. First, he argues that North

Carolina law requires sheriffs to serve facially valid warrants,

and thus, Sheriffs cannot have the additional duty to “inquire

into [the warrant’s] validity.” (Def. Rowe’s Mem. (Doc. 89) at

7.) Second, he argues that “North Carolina law expressly denies

any duty of the Sheriff to inquire as to the warrants [sic]

validity.” (Id. at 8.)

     As explained above, in North Carolina, “[t]he law imposes

upon every person who enters upon an active course of conduct

the positive duty to exercise ordinary care to protect others

from harm, and calls a violation of that duty negligence.”

Fussell, 364 N.C. at 226, 695 S.E.2d at 440 (citation omitted).

Law enforcement officers are not exempt from this general duty.


                                 - 65 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 65 of 97
See Prior v. Pruett, 143 N.C. App. 612, 620, 550 S.E.2d 166, 172

(2001) (“In a negligence action, a law enforcement officer is

held to the standard of care that a reasonably prudent person

would exercise in the discharge of official duties of like

nature under like circumstances.”).

     The Wake County Sheriff’s Office and its deputies were

engaged in an “active course of conduct” when they arrested

Plaintiffs Spruill, Chaplin, McNeil, Robertson, Jallal,

Bradley,32 Lassiter and the putative Wrongful Arrest Class, and

thus had a duty to exercise ordinary care. The fact that

deputies are required to serve facially valid warrants pursuant

to North Carolina law may be relevant to the question of whether

they exercised ordinary care but does not abrogate that general

duty.

     North Carolina law provides that “[e]very sheriff, by

himself or his lawful deputies, shall execute and make due

return of all writs and other process to him legally issued and

directed, within his county.” N.C. Gen. Stat. § 162-14.



     32This court notes that Plaintiff Messiejah Bradley alleges
that his arrest was executed by a “police officer” and not a
sheriff’s deputy. (SAC (Doc. 77) ¶ 183.) It is not clear whether
the individual who executed his arrest was under the control of
Defendant Sheriff Rowe and the Wake County Sheriff’s Office.
However, because this court finds that the negligence claim
against Rowe should be dismissed, it need not analyze this
factual ambiguity.
                                 - 66 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 66 of 97
Defendant argues that North Carolina law also “expressly denies

any duty of the Sheriff to inquire as to the warrants [sic]

validity,” (Def. Rowe’s Mem. (Doc. 89) at 8). In support of this

argument, Defendant cites N.C. Gen. Stat § 15A-301(f), which

reads:

     (f) Protection of Process Server. - An officer or other
     employee designated as provided in subsection (b), 33 and
     serving process as provided in subsection (b), receiving
     under this section or under G.S. 15A-301.1 criminal
     process which is complete and regular on its face may
     serve the process in accordance with its terms and need
     not inquire into its regularity or continued validity,
     nor does he incur criminal or civil liability for its
     due service.

N.C. Gen. Stat. § 15A-301(f). The parties did not cite, and this

court has not been able to find, any cases purporting to

interpret this statute. However, “[w]here statutory language is

clear and unambiguous, [courts in North Carolina] do not ‘engage

in judicial construction but must apply the statute to give

effect to the plain and definite meaning of the language.’”

Edwards v. Morrow, 219 N.C. App. 452, 455, 725 S.E.2d 366, 369

(2012) (citation omitted). This statute’s language is clear — it

abrogates criminal and civil liability for the due service of

facially valid warrants and expressly disclaims any obligation


     33Subsection (b) explains, in pertinent part, that
“[w]arrants for arrest . . . must be directed to a particular
officer, a class of officers, or a combination thereof, having
authority and territorial jurisdiction to execute the process.”
N.C. Gen. Stat § 15A-301(b).
                                 - 67 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 67 of 97
to inquire into the validity of warrants. In other words, the

Sheriff’s Office and its deputies have statutory immunity for

claims of negligence related to the service of facially valid

warrants. Cf. Henderson v. Charlotte-Mecklenburg Bd. of Educ.,

253 N.C. App. 416, 801 S.E.2d 145 (2017) (finding statute that

stated “[n]o liability shall attach to any board of education or

to any individual board member for personal injury suffered by

reason of the use of such school property pursuant to such

agreements” to provide “boards of education with specific

statutory immunity from any liability for personal injuries

suffered by an individual participating in non-school related

events and activities on school grounds”). This interpretation

of § 15A-301(f) is consistent with the official commentary,

which explains that the provision was “added to insure that an

officer may execute criminal process promptly without fear or

danger of encountering difficulty because of some deficiency not

apparent to him.” N.C. Gen. Stat. Ann. § 15A-301 (Commentary).

     Statutory immunity is “an affirmative defense, [and] is

available to a defendant only if he satisfies all of the

requirements or elements defined in the relevant statutes.” Land

v. Whitley, 292 N.C. App. 244, 254, 898 S.E.2d 17, 24–25, review

allowed, 900 S.E.2d 662 (2024). There is no dispute Defendant

has satisfied all of the requirements of 15A-301(f) and is


                                 - 68 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 68 of 97
entitled to its grant of immunity, because Plaintiffs do not

allege any conduct by Defendant beyond what is immunized by the

statute.34 Plaintiffs have alleged Defendant Rowe owed them three

duties: 1) to identify invalid warrants, 2) to not enforce

invalid warrants, and 3) to confirm the validity of warrants

before arresting individuals. (SAC (Doc. 77) ¶ 253.) Any breach

of these duties would fall squarely within the zone of immunity

prescribed by the statute. Accordingly, because Defendant Rowe

has satisfied the elements of an affirmative defense of

statutory immunity, the claim of negligence against him in his

official capacity is dismissed, as is the claim of negligence




     34Additionally, Plaintiffs do not argue against the
application of § 15A-301(f) in their brief in response to
Defendant Rowe’s motion. (See generally Pls.’ Resp. to Rowe’s
Mot. (Doc. 102).)
                                 - 69 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 69 of 97
against his surety, Defendant The Ohio Casualty Insurance

Company.35 36




     35This court recognizes that determining the applicability
of an affirmative defense is generally not appropriate on a
motion to dismiss. See Chisholm v. Mountaire Farms of N.
Carolina Corp., 629 F. Supp. 3d 368, 373 (M.D.N.C. 2022).
However, there is an exception to this general rule where “all
facts necessary to the affirmative defense clearly appear on the
face of the complaint.” Id. (cleaned up) (quotation marks and
citation omitted). The exception applies here because the
actions alleged by Plaintiffs are precisely what is immunized by
the statute and there are no further questions to determine the
statute’s applicability.
     36In the SAC, Plaintiffs request that “should the Court
grant any [motion to dismiss], Plaintiffs request that such
dismissal be without prejudice and that they be granted an
opportunity to amend to address the deficiencies identified in
the Court’s ruling.” (SAC (Doc. 77) at 50.) Any such amendment
would require “the opposing party’s written consent or the
court’s leave.” Fed. R. Civ. P. 15(a)(2). “While leave may be
freely granted, a ‘request for a court order must be made by a
motion,’ which must state the grounds for seeking the order and
the relief sought.” Sullivan v. Lab'y Corp. of Am. Holdings, No.
1:17CV193, 2018 WL 1586471, at *13 (M.D.N.C. Mar. 28, 2018). And
this district’s local rules require that when a party is
“required by the Rules to file a motion in order to seek leave
to amend a pleading, the moving party shall attach the proposed
amended pleading to the motion.” LR15.1. Plaintiffs have not
complied with the Local Rules, and thus this court declines to
dismiss their claim against Defendant Rowe without prejudice.
See Cozzarelli v. Inspire Pharms. Inc., 549 F.3d 618, 630–31
(4th Cir. 2008) (finding district court did not abuse discretion
in denying leave to amend where “plaintiffs never filed a motion
for leave to amend before the district court, nor did they
present the district court with a proposed amended complaint”).
                                 - 70 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 70 of 97
                iii. McFadden

                                  Duty

     Plaintiffs Fields, Nunez, Hayward, and the putative

Overdetention Class allege that Defendant McFadden, in his

official capacity, had a duty “[t]o ensure individuals were not

held unnecessarily in the jails and other facilities [he]

supervised.” (SAC (Doc. 77) ¶ 253.) Under North Carolina law,

“[t]he sheriff shall have the care and custody of the jail in

his county.” N.C. Gen. Stat. § 162-22. And “[f]ollowing any

authorization of release of any person in accordance with the

provisions of this Article, any . . . law-enforcement officer or

custodial official having the person in custody must effect the

release of that person upon satisfying himself that the

conditions of release have been met.” 37 N.C. Gen. Stat. § 15A-




     37Pursuant to North Carolina law, only judicial officials
may “determine conditions of release of persons in proceedings
over which thy are presiding.” N.C. Gen. Stat. § 15A-532.
                                 - 71 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 71 of 97
537(a).38 “This is . . . mandatory, not optional[.]” State v.

Lemus, 273 N.C. App. 155, 158, 848 S.E.2d 239, 242 (2020).39

Additionally, Defendant McFadden and his deputies, engaged in

the active course of detaining the named Plaintiffs, are held to

the common law duty of ordinary care imposed upon all persons

engaged in an active course of conduct. See Baker v. Smith, 224

N.C. App. 423, 428–29 737 S.E.2d 144, 148 (2012) (explaining

that “the duties of the jailer are those prescribed by statute

and those recognized at common law”)).




     38 It also bears noting that although not discussed by the
parties, it appears the public duty doctrine, as discussed with
reference to Defendant Tyler Technologies’ duty, may not apply
here, because the statute charging law enforcement officers with
effectuating the timely release of a person in custody is not
for the benefit of the general public, but rather for the
benefit of a circumscribed group: persons in custody who have
met their conditions of release. Cf. Multiple Claimants v. N.
Carolina Dep’t of Health & Human Servs., 176 N.C. App. 278, 288,
176 S.E.2d 666, 673 (2006) (finding public duty doctrine did not
apply to statute directing Department of Health and Human
Services to inspect jails because ”this duty is for the benefit
of the inmates and not for the general public”).
     39 Section 15A-537(a) also states that “[n]o . . . officer,

or custodial official may be held civilly liable for actions
taken in good faith under this section.” N.C. Gen. Stat. § 15A-
537(a). It may be that this statute confers immunity for
negligence actions, such as the statute implicated in the claim
against Sheriff Rowe, see supra Section IV.B.2.ii. However,
Sheriff McFadden did not raise such an argument in his briefs in
support of his motion to dismiss, so this court declines to
address the possibility of statutory immunity at this stage of
the proceedings.

                                 - 72 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 72 of 97
     Defendant McFadden does not dispute that the Sheriff’s

Office had a duty to “timely free detainees who have satisfied

the conditions of release,” but argues that Plaintiffs have

failed to plausibly allege that duty was breached or that the

breach proximately caused their injuries. (Def. McFadden’s Reply

(Doc. 112) at 9.)

     As discussed above, Plaintiffs have alleged that Defendant

McFadden had a statutory duty to release detainees once

satisfied that their conditions of release were met and a common

law duty to act with ordinary care. Plaintiffs further allege

that this duty was breached because the Mecklenburg County

Sheriff’s Office

     d. . . . [f]ailed to implement systems to ensure that
     individuals ordered released or who had otherwise
     satisfied conditions of release, would be released in a
     timely fashion; [and]

     e. . . . repeatedly detained individuals for over two
     hours beyond the time they had been ordered released or
     otherwise satisfied conditions of release[.]

(SAC (Doc. 77) ¶ 254.) Defendant McFadden argues that

“Plaintiffs fail plausibly to allege factual support that

Sheriff McFadden knew they had release orders, that he was aware

they satisfied the conditions of their release, and still

ignored that information, thereby breaching his duty to them.”

(Def. McFadden’s Reply (Doc. 112) at 9.)



                                 - 73 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 73 of 97
     Here, the question of breach is two-fold. On the one hand,

any breach of McFadden’s statutory duty will turn on the meaning

of N.C. Gen. Stat. § 15A-537(a) — what does it mean to require a

custodial official to effect release “upon satisfying himself

that the conditions of release have been met”? It seems a

custodial official must take some action to “satisfy himself”

that the conditions of release are met, and it is at least

plausible that it would be a breach of that affirmative duty to

not “implement systems to ensure that individuals ordered

released or who had otherwise satisfied conditions of release,

would be released in a timely fashion.” (SAC (Doc. 77) ¶ 254.)

It is also plausible that these failures constituted a breach of

the duty of ordinary care. Cf. Doe v. United States, 381 F.

Supp. 3d 573, 602 (“[W]hether the [defendant] used reasonable

care in attending to the situation is generally a question for

the jury.”)

     Plaintiffs’ allegation of breach is bolstered by the fact

that throughout the SAC, Plaintiffs have alleged that Defendant

McFadden was on notice or should have been on notice of a

pattern of overdetentions in his county during the time frame

when the Plaintiffs Fields, Nunez, and Hayward were allegedly

overdetained. (See SAC (Doc. 77) ¶ 92 (“During the first four

days following the launch of eCourts in Mecklenburg County . . .


                                 - 74 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 74 of 97
approximately 66 people were detained well beyond the point

their conditions of release were satisfied.”); id. ¶ 269

(“Sheriff McFadden was aware that because of an ‘integration

issue’ between eWarrants and Odyssey, orders of release were not

being communicated in a timely manner to officials at the

MCDC.”); id. ¶ 264 (“Sheriff McFadden was on notice of the

likelihood of overdetentions based on lawsuits filed in other

states,40 the rollout of eCourts in the initial four pilot

counties in North Carolina, and meetings with stakeholders in

Mecklenburg County.”); id. ¶ 273 (“In an interview just weeks




     40Defendant McFadden argues that “allegations in other
states [do not] put Sheriff McFadden ‘on notice of the
likelihood of overdetentions,” (Def. McFadden’s Mem. (Doc. 96)
at 13), and that “it is questionable, at best, whether evidence
of these other lawsuits would even be admissible at trial,”
because “any Tyler Technologies system for another state is
necessarily different,” (id. at 13 n.4). But “[w]hen prior
incidents are admitted to prove notice, the required similarity
of the prior incidents to the case at hand is more relaxed than
when prior incidents are admitted to prove negligence. The
incidents need only be sufficiently similar to make the
defendant aware of the dangerous situation.” Benedi v. McNeil-
P.P.C., Inc., 66 F.3d 1378, 1386 (4th Cir. 1995). At this stage,
Plaintiffs have plausibly alleged that prior problems involving
Tyler Technologies in other states was “sufficiently similar” to
the problems alleged in this suit, as all involved court
management or warrant software, notwithstanding any state-
specific alterations.
                                 - 75 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 75 of 97
after the roll out, Sheriff McFadden acknowledged that ‘[t]he

wait times are much longer[.]’”).)41

     Plaintiffs have also plausibly alleged causation. The

failure of Defendant McFadden to institute measures to ensure

qualified individuals were timely released from detention is

clearly causally tied to Plaintiffs’ alleged overdetentions, as

Defendant McFadden, in his official capacity, is an entity

empowered with the authority to release individuals who have met

their conditions of release. See N.C. Gen. Stat. § 15A-537(a).

To the extent that Defendant McFadden argues against causation

because Plaintiffs also allege that Defendant Tyler Technologies

caused their injuries, (see Def. McFadden’s Reply (Doc. 112) at

9) (“Plaintiffs repeatedly blame others . . . for being the

proximate cause of their alleged over-detentions.”), this



     41Notably, key to the question of negligence is when
Defendant McFadden was on notice that there may be difficulties
with the new software such that his statutory duty to “satisfy
himself” that conditions of release were met, or his common law
duty of ordinary care may entail additional steps not previously
taken. If Defendant McFadden did not, in fact, learn of the
likelihood of overdetentions until Plaintiff Fields was
overdetained on October 9, 2023, it will be difficult to prove
that he breached his duty as to Plaintiff Fields. However, at
this stage and based on Plaintiffs’ allegations, it is at least
plausible that Defendant McFadden was on notice of the
likelihood of overdetentions earlier than October 9, 2023,
because Plaintiffs allege that he was on notice “based on
lawsuits filed in other states [and] the rollout of eCourts in
the initial four pilot counties,” (SAC (Doc. 77) ¶ 264), which
occurred prior to the first named Plaintiff’s overdetention.
                                 - 76 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 76 of 97
argument is unavailing, for the same reason the converse

argument by Tyler Technologies was rejected. See supra Section

IV.B.1.ii. “It is well settled that there may be more than one

proximate cause of an injury.” Adam, 312 N.C. at 194, 322 S.E.2d

at 172.

     In accordance with the above analysis, Plaintiffs Fields,

Nunez, and Hayward have plausibly alleged a claim of negligence

against Defendant Sheriff McFadden, and by nature of N.C. Gen.

Stat. § 58-76-5, his surety, Defendant John Doe Surety.42

     C.   Monell Claims against Sheriff Defendants

     42 U.S.C. § 1983 provides that “[e]very person, who under

color of any statute, ordinance, regulation, custom, or usage,

of any State . . . , subjects, or causes to be subjected, any

citizen of the United States or other person within the

jurisdiction thereof to the deprivation of any rights,

privileges, or immunities secured by the Constitution and laws,

shall be liable to the party injured in an action at law, suit

in equity, or other proper proceeding for redress.” 42 U.S.C. §




     42The parties dispute whether this court may take judicial
notice of two exhibits to Plaintiffs’ response to Defendant
McFadden’s motion to dismiss. (See Doc. 101-1; Doc. 101-2.)
Because this court finds that Plaintiffs have plausibly alleged
negligence against Defendant McFadden, even without the support
of these documents, it need not consider whether the exhibits
may be considered.
                                 - 77 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 77 of 97
1983.43 Neither Sheriff Rowe nor Sheriff McFadden dispute that

the alleged actions taken by their deputies were under color of

state law.

                i.    Monell Claim Against Defendant Rowe

     Plaintiffs Spruill, Chaplin, McNeil, Robertson, Jallal,

Bradley, and Lassiter allege that Defendant Rowe, in his

official capacity, “through his policies, customs, practices,

omissions, and failures to train, violated Plaintiffs’ rights

under the Fourth and Fourteenth Amendments,” which protect their

“right to be free from unlawful search, seizure and detention.”

(SAC (Doc. 77) ¶¶ 281, 283–84.) Because Plaintiffs pursue this

claim against Defendant Rowe in his official capacity, it

functions as a claim against the local entity of the Wake County

Sheriff’s Office. See supra n.43. In Monell v. Department of

Social Services of City of New York, the Supreme Court held that

“municipalities and other local government units [are] to be




     43A § 1983 suit against defendants in their official
capacities is, in effect, “a suit against the entity of which
those officials are agents.” Gantt v. Whitaker, 203 F. Supp. 2d
503, 508 (M.D.N.C. 2002). In North Carolina, a Sheriff is an
agent of Sheriff’s Office, which is a local entity. See Harter
v. Vernon, 101 F.3d 334, 342–43 (4th Cir. 1996) (interpreting
North Carolina law). Accordingly, Plaintiffs’ Monell claims
against Defendant Sheriff Rowe and Defendant Sheriff McFadden in
their official capacities function as claims against the Wake
County Sheriff’s Office and the Mecklenburg County Sheriff’s
Office, respectively.

                                 - 78 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 78 of 97
included among those persons to whom § 1983 applies.” 436 U.S.

658, 690 (1978).

     The Supreme Court has made clear that “municipalities may

not be held liable [under Monell] unless action pursuant to

official municipal policy of some nature caused a constitutional

tort.” Collins v. City of Harker Heights, Tex., 503 U.S. 115,

120–21 (1992) (internal quotation marks and citation omitted).

Accordingly, this court first addresses whether Plaintiffs have

alleged a constitutional violation. See Baker v. McCollan, 443

U.S. 137, 140 (1979) (“The first inquiry in any § 1983 suit . .

. is whether the plaintiff has been deprived of a right ‘secured

by the Constitution and laws.’”).

     Plaintiffs allege that, under the Fourth and Fourteenth

Amendments of the United States Constitution, they had a right

to be free from unlawful search, seizure, and detention. (SAC

(Doc. 77) ¶¶ 283–84.) It is not entirely clear from the face of

the complaint whether Plaintiffs invoke the Fourteenth Amendment

because it renders the Fourth Amendment enforceable against

state actors, see, e.g., Mapp v. Ohio, 367 U.S. 643, 655 (1961),

or whether Plaintiffs’ invocation of the Fourteenth Amendment

was intended to additionally assert that Defendant Rowe violated

their due process rights. Regardless of Plaintiffs’ intention,

the constitutionality of arrests and pre-trial detention are


                                 - 79 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 79 of 97
governed by the Fourth Amendment, not the Fourteenth. See Manuel

v. City of Joliet, Ill., 580 U.S. 357, 365 (2017) (“The Fourth

Amendment . . . establishes the minimum constitutional

‘standards and procedures’ not just for arrest but also for

ensuing ‘detention.’”). Accordingly, this court analyzes the

Plaintiffs Spruill, Chaplin, McNeil, Robertson, Jallal, Bradley,

and Lassiter’s Monell claim under the Fourth Amendment.

     As relevant here, the Fourth Amendment protects “[t]he

right of the people to be secure in their persons,” prohibits

“unreasonable searches and seizures”, and requires that warrants

may only be issued “upon probable cause.” U.S. Const. Amend. 4.

The crux of the Fourth Amendment is that it “prohibits

government officials from detaining a person in the absence of

probable cause.” Manuel, 580 U.S. at 367. Plaintiffs have

alleged that “Wake County Sheriff’s Office deputies and other

officers were arresting individuals on invalid Wake County

warrants,” (SAC (Doc. 77) ¶ 289), and that Defendant Rowe, in

his official capacity, caused this practice through various

omissions, (id. ¶¶ 291–94). As an initial matter, Plaintiffs do

not allege that these warrants were invalid on their face, and

in fact allege that they appeared as “active” in the eCourts

software. (Id. ¶ 285.) Importantly, Plaintiffs also do not

allege that the officers or deputies who executed these warrants


                                 - 80 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 80 of 97
had any notice that they were invalid prior to executing them.44

Accordingly, this court must address whether a law enforcement

officer who executes an arrest or detention pursuant to a

facially valid warrant has violated the Fourth Amendment.

     “In defining the contours and prerequisites of a § 1983

claim . . . courts are to look first to the common law of

torts.” Manuel, 580 U.S. at 370; see also Brunson v. Stein, 116

F.4th 301, 307 (4th Cir. 2024). The Fourth Circuit has explained

that “allegations that an arrest made pursuant to a warrant was

not supported by probable cause, or claims seeking damages for

the period after legal process issued, are analogous to the

common-law tort of malicious prosecution.” Brooks v. City of

Winston-Salem, N.C., 85 F.3d 178, 182 (4th Cir. 1996); see also

Porterfield v. Lott, 156 F.3d 563, 568 (4th Cir. 1998)

(explaining that an official who arrests an individual pursuant




     44Accordingly, the facts as alleged here are distinct from
Plaintiffs’ cited case, McMurry v. Sheahan, 927 F. Supp. 1082
(N.D. Ill. 1996), because in that case, the plaintiff alleged
that the officer who executed his warrant was on notice that the
warrant system was “an utter failure and cannot be relied on.”
Id. at 1091.
                                 - 81 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 81 of 97
to a facially valid warrant “can be pursued through a cause of

action for malicious prosecution”).45

     “This Fourth Amendment claim requires ‘that [1] the

defendant ha[s] seized plaintiff pursuant to legal process that

was not supported by probable cause and [2] that the criminal

proceedings have terminated in plaintiff's favor.’” Smith v.

Munday, 848 F.3d 248, 253 (4th Cir. 2017) (quoting Massey v.

Ojaniit, 759 F.3d 343, 356 (4th Cir. 2014)). 46 Here, Defendant

Rowe does not dispute that criminal proceedings were terminated

in Plaintiffs’ favor. Rather, the key dispute is whether

Plaintiffs’ seizures were supported by probable cause.

          The probable-cause inquiry turns on two factors:
     the suspect's conduct as known to the officer, and the
     contours of the offense thought to be committed by that
     conduct. A court should only consider the information
     the officers had at the time they sought the warrant.
     Yet the probable-cause inquiry examine[s] the facts
     within the knowledge of arresting officers to determine
     whether they provide a probability on which reasonable
     and prudent persons would act; we do not examine the
     subjective beliefs of the arresting officers to
     determine   whether  they   thought   that  the   facts
     constituted probable cause.



     45 Importantly, “a ‘malicious prosecution’ claim [(under §
1983)] . . . is simply a claim founded on a Fourth Amendment
seizure that incorporates elements of the analogous common law
tort of malicious prosecution . . . . It is not an independent
cause of action.” Lambert v. Williams, 223 F.3d 257, 262 (4th
Cir. 2000).
     46 To demonstrate a “favorable termination,” “a plaintiff

need only show that his prosecution ended without a conviction.”
Thompson v. Clark, 596 U.S. 36, 39 (2022).

                                 - 82 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 82 of 97
Smith, 848 F.3d at 253 (internal citations and quotation marks

omitted).

     Plaintiffs fail to allege facts permitting an inference

that the law enforcement officers who arrested them lacked

probable cause. Plaintiffs do not allege that the officers

sought the warrants in the absence of probable cause. Nor do

Plaintiffs allege that the arresting officers themselves had

notice of a pattern of invalid warrants, such that a reasonable

and prudent officer would know not to rely on a facially valid

warrant. All that is alleged is that those officers executed

what appeared to them to be facially valid arrest warrants.

     This court finds that the arresting officers who saw

active, facially valid warrants in the warrant system acted with

probable cause when they executed arrests pursuant to those

warrants. “Where the alleged Fourth Amendment violation involves

a search or seizure pursuant to a warrant, the fact that a

neutral magistrate has issued a warrant is the clearest

indication that the officers acted in an objectively reasonable

manner . . . .” Smith, 848 F.3d at 255–56 (citation omitted).

The Supreme Court has explained that

     we do not think a sheriff executing an arrest warrant is
     required    by   the    Constitution   to    investigate
     independently every claim of innocence, whether the
     claim is based on mistaken identity or a defense such as
     lack of requisite intent. Nor is the official charged
     with maintaining custody of the accused named in the

                                 - 83 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 83 of 97
     warrant required by the Constitution to perform an
     error-free investigation of such a claim. The ultimate
     determination of such claims of innocence is placed in
     the hands of the judge and the jury.

Baker, 443 U.S. at 145–46.

     A finding that an officer who executes a facially valid

warrant without knowledge of the warrant’s infirmities does not

violate the Fourth Amendment is supported by the jurisprudence

of the Fourth Circuit and district courts within it. See

Thurston v. Frye, 99 F.4th 665, 677 n.12 (4th Cir. 2024) (“[A]s

long as the previously issued warrant is not so facially

deficient . . . that the executing officers cannot reasonably

presume it to be valid, a warrant issued by a magistrate

normally suffices to establish that a law enforcement officer

has acted in good faith in executing it. That is because, [i]n

the ordinary case, an officer cannot be expected to question the

magistrate's probable-cause determination or his judgment that

the form of the warrant is technically sufficient.” (quotation

marks and citations omitted)); McPhearson v. Anderson, 874 F.

Supp. 2d 573, 580 (E.D. Va. 2012) (“A facially valid arrest

warrant provides the arresting officer with sufficient probable

cause to arrest the individual identified in the warrant.”);

Schiff v. McBain, No. CV PX-20-830, 2020 WL 1904705, at *2 (D.

Md. Apr. 17, 2020) (“Where an arrest occurs pursuant to a



                                 - 84 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 84 of 97
facially valid warrant, the arrest is lawful even if, in the

end, the warrant was ultimately found to be flawed.”).

     Because Plaintiffs Spruill, Chaplin, McNeil, Robertson,

Jallal, Bradley, and Lassiter have failed to plausibly allege

that the arresting deputies violated their constitutional

rights, they cannot, as a matter of law, pursue Monell liability

under § 1983 against Defendant Rowe in his official capacity.

Monell requires a plaintiff to prove that “‘action pursuant to

official municipal policy’ caused their injury.” Connick v.

Thompson, 563 U.S. 51, 60 (2011) (citation omitted). The

question of whether such an injury was caused by a municipality

becomes moot in the absence of an injury. See City of L.A. v.

Heller, 475 U.S. 796, 799 (1986) (“[I]f the [officer] inflicted




                                 - 85 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 85 of 97
no constitutional injury on [the plaintiff], it is inconceivable

that [the municipality] could be liable to [the plaintiff].”).47

     Because Plaintiffs have failed to plausibly allege that

their Fourth Amendment rights were violated, the Monell claim

against Defendant Rowe in his official capacity and against his

surety, Defendant The Ohio Casualty Insurance Company, is

dismissed.48

                ii.   Monell Claim Against Defendant McFadden

     Plaintiffs Fields, Nunez, and Hayward allege that Sheriff

McFadden’s “policies, customs, practices, omissions, and

failures to train, as related to the adoption and implementation


     47 Plaintiffs argue that Mitchell v. Aluisi, 872 F.2d 577
(4th Cir. 1989), stands for the proposition that “‘proof of an
unconstitutional custom or practice’ to execute invalid warrants
— even if facially valid — may serve as the basis for Monell
liability.” (Pls.’ Resp. to Rowe’s Mot. (Doc. 102) at 2.) First,
Mitchell was decided by reference to the Fourteenth Amendment
due process clause, which is no longer understood to govern §
1983 claims regarding pre-trial arrest and detention. See
Albright v. Oliver, 510 U.S. 266, 274 (1994) (holding Fourth
Amendment, not Fourteenth Amendment, is the guide for “pretrial
deprivations of liberty”). Second, this court reads Mitchell to
hold that the arrest pursuant to a facially valid but recalled
warrant did not constitute a due process violation, but that
even if it did, there was no proof of a pattern of such
violations such that it could give rise to municipal liability
under Monell. See Mitchell, 872 F.2d at 579 (finding “no
indication in the summary judgment record that, with regard to
this recalled warrant, the sheriff . . . acted with anything
approaching unconstitutional turpitude” and further, that
“[t]here is also no proof of any impermissible policy here which
would give rise to municipal liability.”) This reading comports
with Monell and Heller.
     48 See supra n.36.


                                 - 86 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 86 of 97
of eCourts, caused Plaintiffs and members of the Overdetention

Class to be detained after the time they were ordered released,”

violating their rights under the Fourth and Fourteenth

Amendments. (SAC (Doc. 77) ¶¶ 262, 278.)

     As explained above, the first step of any Monell claim is

determining whether or not the plaintiff has plausibly alleged a

constitutional violation. Defendant McFadden does not dispute

that Plaintiffs’ alleged overdetentions are cognizable

constitutional injuries. Accordingly, for purposes of resolving

this motion, this court will assume Plaintiffs Fields, Nunez,

and Hayward have plausibly alleged that their constitutional

rights were violated when they were not released upon the

conditions of their release being satisfied.49


     49This court notes, that although Plaintiffs have alleged
that Sheriff McFadden “violated Plaintiffs’ rights under the
Fourth and Fourteenth Amendments of the United States
Constitution,” (SAC (Doc. 77) ¶ 262), courts have found that the
constitutionality of the continued detention of a pre-trial
detainee who has met the conditions of release is governed by
the Fourteenth Amendment’s substantive due process clause. See
West v. Prince George's Cnty., Maryland, No. CV TDC-21-0863,
2022 WL 125936, at *4 (D. Md. Jan. 13, 2022); Palmer v.
Maryland, No. CV 1:22-0899-CDA, 2024 WL 4349730, at *5 (D. Md.
Sept. 30, 2024) (slip copy) (“Federal Courts have held,
consistently, that the Fourteenth Amendment protects pretrial
detainees.”); Wharton v. Danberg, 854 F.3d 234, 247 (3d Cir.
2017) (“[T]he treatment of pretrial detainees is governed by the
Due Process Clause.”); Lynch v. City of New York, 335 F. Supp.
3d 645, 653 (S.D.N.Y. 2018) (“[F]ederal courts have generally
used the rubric of substantive due process to analyze claims
based on the delayed release of pre-trial detainees after the
legal basis for detention has dissolved.”).
                                 - 87 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 87 of 97
     However, a finding that Plaintiffs have plausibly alleged a

constitutional violation does not end the inquiry. In order for

the Mecklenburg County Sherriff’s Office to be liable under

Monell, Plaintiffs must plausibly allege that the constitutional

torts alleged were done in “execution of a government’s policy

or custom.” Monell, 436 U.S. at 694. As explained by the Fourth

Circuit,

     [a] policy or custom for which a municipality may be
     held liable can arise in four ways: (1) through an
     express policy, such as a written ordinance or
     regulation; (2) through the decisions of a person with
     final policymaking authority; (3) through an omission,
     such as a failure to properly train officers,
     that “manifest[s] deliberate indifference to the
     rights of citizens”; or (4) through a practice that is
     so “persistent and widespread” as to constitute a
     “custom or usage with the force of law.”

Starbuck v. Williamsburg James City Cnty. Sch. Bd., 28 F.4th

529, 533 (4th Cir. 2022) (citation omitted). A plaintiff must

also “allege an affirmative causal link between the ‘policy or

custom,’ and the particular injury suffered by the plaintiff.”

Washington v. Balt. Police Dep’t, 457 F. Supp. 3d 520, 532 (D.

Md. 2020).

     Plaintiffs allege that Sheriff McFadden caused their

overdetentions through his omissions, namely his “fail[ure] to

adequately train his employees on the Odyssey and eWarrants

systems and how to use those systems to ensure that individuals

were timely released from detention,” (SAC (Doc. 77) ¶ 277), and

                                 - 88 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 88 of 97
his “fail[ure] to implement a failsafe system, such as a paper-

based process to notify jail staff of a release order that could

be transferred with inmates to the MCDC,” (id. ¶ 266).

     Plaintiffs may, in limited circumstances, hold

municipalities liable for the constitutional torts of their

employees in the face of inadequate training. See City of

Canton, Oh. v. Harris, 489 U.S. 378, 389 (1989). However, “a

failure to train can constitute a ‘policy or custom’ actionable

under section 1983 only where the ‘municipality’s failure to

train its employees in a relevant respect evidences a

‘deliberate indifference’ to the rights of its inhabitants.’”

Jordan by Jordan v. Jackson, 15 F.3d 333, 341 (4th Cir. 1994)

(quoting City of Canton, 489 U.S. at 388). “The specifically

identified deficiency in training also must be shown to have in

fact caused the ultimate violation.” Id. In other words,

“[s]ection 1983 liability may attach if the officers are not

adequately trained ‘in relation to the tasks the particular

officers must perform,’ and this deficiency is ‘closely related

to the ultimate injury.’” Lytle v. Doyle, 326 F.3d 463, 473 (4th

Cir. 2003).

     To plausibly allege a Monell failure to train claim, a

plaintiff must first allege “‘a specific deficiency’ in

training, ‘rather than general laxness or ineffectiveness in


                                 - 89 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 89 of 97
training.’” Washington, 457 F. Supp. 3d at 533 (quoting Spell v.

McDaniel, 824 F.2d 1380, 1390)). Plaintiffs have alleged a

“specific deficiency” — a failure to train sheriff’s deputies on

how to use the Odyssey and eWarrants systems “to ensure that

individuals were timely released from detention.” (SAC (Doc. 77)

¶ 277.)50

     Next, a Plaintiff must allege that this training deficiency

evidences “deliberate indifference” by policymakers. See City of

Canton, 489 U.S. at 388. The Supreme Court has explained that

deliberate indifference

     is a stringent standard of fault, requiring proof that
     a municipal actor disregarded a known or obvious
     consequence of his action. Thus, when city policymakers
     are on actual or constructive notice that a particular
     omission in their training program causes city employees
     to violate citizens' constitutional rights, the city may
     be deemed deliberately indifferent if the policymakers
     choose to retain that program. . . . A pattern of similar
     constitutional violations by untrained employees is
     ordinarily   necessary      to  demonstrate    deliberate
     indifference for purposes of failure to train.
Connick, 563 U.S. at 61–62 (internal citations and quotation

marks omitted).

     Plaintiffs have adequately alleged that Sheriff McFadden

was aware of a pattern of unconstitutional overdetentions in




     50Thus, this court rejects Defendant’s argument that
Plaintiffs “fail to identify any specific policy, or the absence
thereof that proximately caused their alleged constitutional
harm.” (Def. McFadden’s Mem. (Doc. 96) at 17.)
                                 - 90 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 90 of 97
Mecklenburg County. Plaintiffs allege that “[d]uring the first

four days following the launch of eCourts in Mecklenburg County,

. . . approximately 66 people were detained well beyond the

point their conditions of release were satisfied,” (SAC (Doc.

77) ¶ 272),51 and that “Sheriff McFadden knew that because of

defects in eCourts, many defendants who had been ordered

released were continuing to be held in custody,” (id. ¶ 268).

These allegations are sufficient to permit the reasonable

inference that Defendant McFadden was on notice of a pattern of

overdetention in Mecklenburg County. 52




     51 Defendant argues that “Plaintiffs offer no factual
support for this allegation, and conjecture is insufficient to
support the imposition of Monell liability on Sheriff McFadden.”
(Def. McFadden’s Mem. (Doc. 96) at 19.) The allegation that
“[d]uring the first four days following the launch of eCourts in
Mecklenburg County, . . . approximately 66 people were detained
well beyond the point their conditions of release were
satisfied” is a factual allegation. On a motion to dismiss, this
court accepts the Plaintiffs’ factual allegations as true. See
Ray, 948 F.3d at 226.
     52 It is unclear how the 66 overdetentions in the first four

days of Odyssey (October 9, 10, 11, and 12 of 2023) were spread
out. This court notes that named Plaintiffs Fields and Nunez
have alleged they were overdetained on October 9 and October 10
of 2023. At this stage of the proceedings, the allegation that
66 people were overdetained in the first four days is sufficient
to permit a plausible inference that Defendant McFadden was on
notice of a pattern of overdetentions even prior to Fields’ and
Nunez’s detentions. However, as their overdetentions occurred
near the start of the Odyssey implementation, establishing that
Defendant McFadden was on notice of a pattern of overdetentions
prior to theirs may pose a challenge later in the proceedings.
                                 - 91 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 91 of 97
     Finally, to state a Monell failure to train claim, a

plaintiff must allege that the “identified deficiency in a

city’s training program [was] closely related to the ultimate

injury.” City of Canton, 489 U.S. at 391. Plaintiffs have

alleged that software defects led to their overdetention. An

allegation that the Sheriff’s Office failed to adequately train

its officers on how to use that software is closely related to

the injury. Although it is possible that even armed with

adequate training the deputies still would not have been able to

counteract the alleged technical defects, it is equally

plausible that had they better understood how to use the

software, they may have been better equipped to identify defects

and know where to look to seek confirmation of release

conditions. This causal link is supported by Plaintiffs’

allegation that Sheriff McFadden “attributed the delays [in

release] to inadequate training for his staff as well as

glitches and crashes in the system.” (SAC (Doc. 77) ¶ 275.)

     At this stage of litigation, it is plausible that had

Defendant McFadden more adequately trained his officers on the

eCourts systems and their attendant defects, the named

Plaintiffs would not have been the subject of overdetention.




                                 - 92 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 92 of 97
Accordingly, Plaintiffs have plausibly alleged a Monell claim

against Sheriff McFadden.53

V.   INJUNCTIVE RELIEF

     All named Plaintiffs also seek permanent injunctive relief

under § 1983 against Defendants McFadden and Rowe in their

official capacities. (SAC (Doc. 77) ¶¶ 328–29.) Specifically,

Plaintiffs ask that this court issue a “permanent injunction

[which] should require the Injunctive Relief Defendants to adopt

failsafe procedures that would prevent Fourth and Fourteenth

Amendment violations akin to those suffered by Plaintiffs and

the injunctive Relief Class as alleged herein.” (Id. ¶ 335.)

     Neither Plaintiff Sifford nor Plaintiff Lewis assert § 1983

claims against either Defendant McFadden or Defendant Rowe and

therefore may not pursue § 1983 injunctive relief against them.

Cf. York v. City of Burlington, 225 F. Supp. 3d 341, 350

(M.D.N.C. 2016) (holding that plaintiffs who failed to allege a

constitutional injury under Monell lacked standing for

injunctive relief).



     53Because this court finds that Plaintiffs have plausibly
alleged a Monell failure to train claim, it need not address
alternative Monell theory, that “Sheriff McFadden failed to
implement a failsafe system,” (SAC (Doc. 77) ¶ 266), which, as
an alleged omission is also governed by “deliberate
indifference.” See Lytle, 326 F.3d at 471 (explaining that
Monell omission liability requires the omission “manifest[s]
deliberate indifference to the rights of citizens”).
                                 - 93 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 93 of 97
     Because Plaintiffs Spruill, Chaplin, McNeil, Robertson,

Jallal, Bradley, and Lassiter have failed to allege a

constitutional injury against Defendant Rowe, they have not

alleged a § 1983 claim, and thus their claim for injunctive

relief under § 1983 as to Defendant Rowe must also fail.

     Plaintiffs Fields, Nunez, and Hayward have stated a Monell

claim against Defendant McFadden. Plaintiffs also request

injunctive relief based on this Monell claim. (SAC (Doc. 77) ¶¶

328, 331.) Defendant McFadden argues that the injunction should

fail because it “contains no factual allegations regarding any

alleged wrongful or illegal conduct taken by Sheriff McFadden.”

(Def. McFadden’s Mem. (Doc. 96) at 19.) But within Plaintiffs’

claim for injunctive relief, they specifically “re-allege and

incorporate the preceding paragraphs as if set forth herein,”

(SAC (Doc. 77) ¶ 325). Accordingly, Plaintiffs’ allegation that

“[u]nder 42 U.S.C. § 1983, the Injunctive Relief Defendants’

administrative policies constitute a policy or custom of

inaction and a policy or custom amounting to deliberate

indifference . . .” is clearly a reference to the Monell claim

as alleged against Defendant McFadden. (See id. ¶ 331.) Because

this court has already found that Plaintiffs Fields, Nunez, and

Hayward have plausibly alleged a Monell claim against Defendant

McFadden, and in the absence of any additional arguments


                                 - 94 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 94 of 97
challenging this request for injunctive relief on the same

grounds, this court finds that those Plaintiffs have plausibly

stated a claim for injunctive relief against Defendant Sheriff

McFadden in his official capacity.54

VI.   CONCLUSION

      Because this court finds that all named Plaintiffs have

plausibly alleged that Defendant Tyler Technologies owed them a

duty of due care and breached that duty, thereby causing their

injuries, Plaintiffs have adequately stated a claim of

negligence against Defendant Tyler Technologies.

      Because this court finds that Defendant Rowe is entitled to

statutory immunity for any alleged negligence associated with

executing warrants, this court finds that Plaintiffs have failed



       It is worth noting that for purposes of injunctive
      54

relief, “past exposure to illegal conduct does not in itself
show a present case or controversy regarding injunctive relief.”
City of L.A. v. Lyons, 461 U.S. 95, 102 (1983) (citation
omitted); see also Kenny v. Wilson, 885 F.3d 280, 287 (4th Cir.
2018) (“[B]ecause plaintiffs here seek . . . injunctive relief,
they must establish an ongoing or future injury in fact.”)
“Courts generally are reluctant to find the requisite level of
likelihood of future harm when standing is asserted based on
repeat run-ins with the law or on being arrested again.” Jones v.
Murphy, 470 F. Supp. 2d 537, 550 (D. Md. 2007). Although, “[t]he
existence of a class . . . could alter the analysis.” Id. In
order to obtain injunctive relief, Plaintiffs will need to show
that “[a]t least one plaintiff [has] standing to seek each form
of relief requested in the complaint.” Town of Chester, N.Y. v.
Laroe Ests., Inc., 581 U.S. 433, 439 (2017). Because no party
addressed the issue of injunctive relief standing, this court
choose not to analyze it at this time.
                                 - 95 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 95 of 97
to plausibly allege a claim of negligence against Defendant Rowe

and accordingly, his surety, The Ohio Casualty Insurance

Company. Plaintiffs Fields, Nunez, and Hayward have, however,

stated a claim of negligence against Defendant McFadden and his

surety, John Doe Surety, as they have plausibly alleged that

Sheriff McFadden owed them a duty of care and breached that duty

when they were overdetained.

     Further, this court finds that Plaintiffs have failed to

state a Monell claim as to Defendant Rowe and his surety,

because they have not alleged that their arrests constituted a

cognizable constitutional injury. Accordingly, their claim for

injunctive relief on the same grounds also fails.

     The Plaintiffs Fields, Nunez, and Hayward have stated a

Monell claim against Defendant McFadden and his surety because

they have plausibly alleged that their constitutional injury was

caused by the Mecklenburg Sheriff’s Office failure to train its

deputies on how to use the eCourts software. Accordingly, those

Plaintiffs’ claim for injunctive relief against Defendant

McFadden also survives.

     For the foregoing reasons, IT IS THEREFORE ORDERED that

Defendant Tyler Technologies’ Motion to Dismiss, (Doc. 90), is

DENIED.




                                 - 96 -



  Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 96 of 97
     IT IS FURTHER ORDERED that Defendant Sheriff Rowe’s Motion

to Dismiss, (Doc. 88), is GRANTED. Accordingly, the negligence

claim and 42 U.S.C. § 1983 claim against both Sheriff Rowe and

his surety, The Ohio Casualty Insurance Company, are DISMISSED.

     IT IS FURTHER ORDERED that Defendant Sheriff McFadden’s

Motion to Dismiss, (Doc. 95), is DENIED.

     This the 31st day of March, 2025.



                                __________________________________
                                   United States District Judge




                                - 97 -



 Case 1:23-cv-00423-WO-JLW   Document 116   Filed 03/31/25   Page 97 of 97
